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            EXHIBIT 15
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         Chapter 6


         THE THEORY OF PUBLIC ENFORCEMENT OF LAW*

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            Abstract
            This chapter surveys the theory of the public enforcement of law—the use of govern-
            mental agents (regulators, inspectors, tax auditors, police, prosecutors) to detect and to
            sanction violators of legal rules. The theoretical core of the analysis addresses the fol-
            lowing basic questions: Should the form of the sanction imposed on a liable party be
            a fine, an imprisonment term, or a combination of the two? Should the rule of liability
            be strict or fault-based? If violators are caught only with a probability, how should the
            level of the sanction be adjusted? How much of society’s resources should be devoted
            to apprehending violators? A variety of extensions of the central theory are then exam-
            ined, including: activity level; errors; the costs of imposing fines; general enforcement;
            marginal deterrence; the principal-agent relationship; settlements; self-reporting; repeat
            offenders; imperfect knowledge about the probability and magnitude of sanctions; cor-
            ruption; incapacitation; costly observation of wealth; social norms; and the fairness of
            sanctions.


            Keywords

            public enforcement of law, fines, imprisonment, strict liability, fault-based liability,
            probability of detection, errors, general enforcement, marginal deterrence, settlements,
            self-reporting, repeat offenders, fairness of sanctions, norms

            JEL classification: D23, D62, D63, H23, H26, K14, K42, L51
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         Ch. 6: The Theory of Public Enforcement of Law                                                          405

         1. Introduction

         Public enforcement of law—the use of governmental agents to detect and to sanction
         violators of legal rules—is a subject of obvious importance. Police and prosecutors en-
         deavor to solve crimes and to punish criminals, regulators attempt to control violations
         of environmental, safety, consumer protection, and financial disclosure laws, and agents
         of the Internal Revenue Service seek to enforce the tax code.
            The earliest economically-oriented writing on the subject of public law enforce-
         ment dates from the eighteenth century contributions of Montesquieu (1748), Beccaria
         (1767), and, especially, Bentham (1789). Curiously, after Bentham, the subject of law
         enforcement lay essentially dormant in economic scholarship until the late 1960s, when
         Becker (1968) published a highly influential article. Since then, several hundred articles
         have been written on the economics of law enforcement.1
            The main purpose of our chapter is to present the economic theory of public law en-
         forcement in a systematic and comprehensive way.2 The theoretical core of our analysis
         addresses the following basic questions: Should the form of the sanction imposed on a
         liable party be a fine, an imprisonment term, or a combination of the two? Should the
         rule of liability be strict or fault-based? If violators are caught only with a probabil-
         ity, how should the level of the sanction be adjusted? How much of society’s resources
         should be devoted to apprehending violators?
            The chapter is outlined as follows. We begin in section 2 by considering the rationale
         for public enforcement of law, that is, by asking why society cannot rely exclusively on
         private enforcement of law to control undesirable behavior. We then state the problem
         of public enforcement of law in general terms in section 3. In sections 4 through 6, we
         analyze strict liability and fault-based liability when enforcement is certain, first con-
         sidering monetary sanctions, next non-monetary sanctions, and then the two together.
         In sections 7 through 9, we perform the same analysis when enforcement is uncertain
         because it is costly. In section 10 we summarize the theory, and in section 11 we discuss
         enforcement practices in the light of the theory we have reviewed.
            We subsequently examine a variety of extensions of our core analysis in sections 12
         through 28. These concern mistake, the costs of imposing sanctions, marginal deter-
         rence, the settlement process, self-reporting of violations, corruption of law enforcers,
         and the fairness of sanctions, among other topics. We conclude in section 29.




          1 See, for example, the references cited in Bouckaert and De Geest (1992, pp. 504–526), Garoupa (1997),
         Mookherjee (1997), and Polinsky and Shavell (2000a).
          2 For other surveys of the theory of public enforcement, see Garoupa (1997) and Mookherjee (1997). For
         surveys of empirical research on law enforcement and crime, see Eide (2000) and Levitt and Miles (2007), and
         for a survey of empirical research on enforcement of environmental regulation, see Cohen (1999, pp. 78–95).
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            2. Why public enforcement rather than private enforcement?

            Before proceeding, we should comment on the rationale for public, as opposed to pri-
            vate, law enforcement, where, by the latter, we mean the bringing of suits by victims
            of harm or those threatened by harm. An important element of the justification for pri-
            vate enforcement concerns information about the identity of violators. When victims
            of harm naturally possess knowledge of who injured them, allowing private suits for
            harm will motivate victims to initiate legal action and thus will harness the information
            they have for purposes of law enforcement. This may help to explain why, for example,
            the enforcement of contract law and tort law is primarily private in nature: a victim of
            a contract breach obviously knows who committed the breach, and a victim of a tort
            usually knows who the tortfeasor was. When, however, victims cannot easily identify
            who injured them, it may be desirable for public enforcement to be employed.
               For public enforcement to be preferred in such circumstances, one still needs to ex-
            plain why society cannot rely on rewards of some type to private parties other than
            victims (such as friends of violators or entrepreneurial private enforcers) to supply in-
            formation and otherwise help in detecting violators. A difficulty with reliance on private
            enforcement of this sort is that if a reward is available to everyone, there might be
            wasteful effort devoted to finding violators (akin to excessive effort to catch fish from a
            common pool). Another problem is that private parties may find it hard to capture fully
            the benefits of developing expensive, but socially worthwhile, information systems to
            aid enforcement (such as computerized databases of fingerprint records). An additional
            obstacle to private enforcement is that force may be needed to gather information, cap-
            ture violators, and prevent reprisal, yet the state frequently, if not usually, will not want
            to permit private parties to use force. For the preceding reasons, public enforcement
            often will be favored when effort is required to identify and apprehend violators.3


            3. The general problem of public law enforcement

            The general problem of public law enforcement may be viewed as one of maximizing
            social welfare. By social welfare, we refer to the benefits that individuals obtain from
            their behavior, less the costs that they incur to avoid causing harm, the harm that they
            do cause, the cost of catching violators, and the costs of imposing sanctions on them
            (including any costs associated with risk aversion). We will be explicit below about the
            definition of social welfare in the various contexts that we consider.

             3 The differences between public and private enforcement have been discussed by Becker and Stigler (1974),
            Landes and Posner (1975), and Polinsky (1980a); see also Shavell (1993) and Friedman (1995). In this chap-
            ter, we assume for simplicity that public enforcement is the exclusive means of enforcement, even though
            in practice private parties sometimes play a complementary role by supplying information to enforcement
            authorities and by bringing private suits. We also abstract from private parties’ efforts to protect themselves
            from harm (and how such efforts might relate to public enforcement), though we mention this issue in the
            conclusion.
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            The state has four major policy choices to make in undertaking law enforcement.
         One is about the sanctioning rule. The rule could be strict in the sense that a party
         is sanctioned whenever he has been found to have caused harm (or expected harm).
         Alternatively, the rule could be fault-based, meaning that a party who has been found to
         have caused harm is sanctioned only if he failed to obey some standard of behavior or
         regulatory requirement.
            A second choice of the state concerns the form of the sanction: monetary versus non-
         monetary (both may be employed together). We focus on imprisonment as the primary
         type of non-monetary sanction and we assume that monetary sanctions are socially less
         costly to employ than imprisonment.
            A third choice involves the magnitude of the sanction.
            And the fourth choice concerns the probability of detecting offenders and imposing
         sanctions. This probability depends on the public resources devoted to finding violators
         and proving that they are liable.4

                              Part A: Basic theory when enforcement is certain
         4. Monetary sanctions

         In this section we analyze the optimal magnitude of monetary sanctions—which we
         call fines—assuming that enforcement is certain. We consider the two basic forms of
         liability, beginning with strict liability.
            Suppose that individuals would obtain a gain from committing a harmful act, where
         the gain varies among them. If an individual does commit the act, he will have to pay a
         fine because he is strictly liable. Let
               g = gain an individual obtains if he commits the harmful act;
            z(g) = density of gains among individuals;
               h = harm caused by an individual if he commits the harmful act;5
               f = fine; and
               w = level of wealth of an individual.
         The gain could be a literal benefit, for instance, the utility obtained from taking food
         from a cabin in the wilderness, or the savings from not investing in some precaution,
         such as not obtaining pollution control equipment.6 The fine cannot exceed an individ-
         ual’s level of wealth, which is assumed to be the same for everyone.
         4 The framework for studying public law enforcement employed in this chapter derives, in many respects,
         from Bentham (1789). Becker (1968) first stated the enforcement problem in formal economic terms and
         added the choice of the probability of detection to Bentham’s expression of the enforcement problem.
          5 If the harm is uncertain, h can be interpreted as expected harm instead of actual harm; see section 12.
          6 For simplicity, we assume that the gain is not itself available to pay the fine. This assumption would hold
         if the gain were non-monetary, as in the example of the utility benefit from taking food from a cabin. In many
         circumstances, the assumption would not be fitting, but the complications introduced by considering how the
         gain enhances an individual’s ability to pay a fine would be distracting.
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               An individual will commit the harmful act if and only if his gain from doing so
            exceeds the fine:7 g > f .
               Social welfare equals the gains individuals obtain from committing the harmful act
            less the harm caused.8 Social welfare is not directly affected by the imposition of fines
            because the payment of a fine is assumed to be a socially costless transfer of money.9
            Since the individuals who commit the harmful act are those whose gains exceed the
            fine, social welfare is
                  ∞
                    (g − h)z(g)dg.                                                                (1)
                  f
               The enforcement authority’s problem is to maximize social welfare by choosing the
            fine f . We use an asterisk to denote the optimal value of the fine (and other variables
            below). It is clear from (1) that
                  f ∗ = h,                                                                                            (2)
            assuming that such a fine is feasible. Hence, individuals commit the harmful act if and
            only if their gain exceeds the harm, which is first-best behavior. Note, however, that
            there will be underdeterrence if the individual’s wealth is less than h, in which case the
            optimal fine equals the individual’s wealth.
               Now consider the fault-based sanctioning rule, in which an individual who causes
            harm is sanctioned only if he failed to obey some standard of behavior. In the present
            framework, we assume that if an individual commits a harmful act, his gain must equal
            or exceed some threshold level of gain in order for him to be free of liability; otherwise,
            he is considered to be at fault. Let
                  ĝ = threshold level of gain under the fault-based sanctioning rule.
               If an individual’s gain is less than ĝ he will commit the harmful act whenever g > f ,
            while if his gain equals or exceeds ĝ, he will commit the harmful act regardless of
            his gain. In other words, the individual will commit the harmful act under fault-based
            liability if g > min(f, ĝ). Thus, social welfare is
                      ∞
                              (g − h)z(g)dg.                                                                          (3)
                  min(f,ĝ)

             7 We assume for simplicity that he does not commit the harmful act if he is indifferent.
             8 Some writers have questioned whether gains from committing harmful acts should necessarily be credited
            in social welfare; see, for example, Stigler (1970, p. 527) and Lewin and Trumbull (1990). If the gains from
            some type of harmful conduct were excluded from social welfare, the main consequence for our analysis
            would be that, for this type of conduct, society would want to achieve greater, possibly complete, deterrence.
            That, in turn, would tend to make a higher sanction and a higher probability of detection desirable.
             9 In practice, of course, some costs are incurred in collecting fines, such as the cost of identifying and
            confiscating the individual’s assets if the individual resists paying the fine. We discuss the implications of
            such costs in section 16.
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           The enforcement authority’s problem is to maximize (3) by choosing the standard ĝ
         and the fine f . It is straightforward to see that
               f ∗ = ĝ ∗ = h                                                                                        (4)
         results in first-best behavior. In particular, if g < h, the individual would be at fault if
         he committed the harmful act, and would bear a fine equal to h, so he would not commit
         it. If g ≥ h, he would not be at fault if he committed the harmful act and therefore
         would not have to pay anything, so he would commit the act. Note that f ∗ and ĝ ∗ are
         not unique: first-best behavior also can be achieved by setting ĝ > h, with f = h, or by
         keeping ĝ = h and setting f > h.
             Although we have seen that the first-best outcome can be achieved under both strict
         liability and fault-based liability (when a fine equal to h is feasible), the two forms of
         liability differ in the information required to implement them. To apply strict liability,
         the state only needs to know the harm. Under fault-based liability, however, the state
         needs to know more: it also needs to ascertain the gain of the individual (to determine
         whether he was at fault).
             To illustrate strict and fault-based liability, suppose that a firm contemplates whether
         to discharge a pollutant that would cause harm h, rather than to transport it to a waste
         disposal site at cost g. Under strictly-imposed fines, the firm would incur a fine of h if
         it pollutes, so would not do so unless its savings from not transporting the waste, g, is
         greater than h. Under fault-based fines, a polluting firm would incur a fine of h only if
         the cost of transporting the waste g is less than h; thus, the firm would pollute only if
         g ≥ h.


         5. Nonmonetary sanctions

         In this section we analyze the optimal magnitude of nonmonetary sanctions—which we
         assume to be prison sentences10 —when enforcement is certain. Let
                   s = length of prison sentence, where s is in [0, sM ]; and
               d(s) = disutility from prison sentence of length s; d(0) = 0; d  (s) > 0.
         The maximum sentence sM can be interpreted as life imprisonment, and is assumed to
         be the same for everyone.
           Under strict liability, if an individual commits the harmful act, he will bear a prison
         sentence.11 Thus, he will commit the act if and only if his gain from doing so exceeds
         the disutility of the prison sentence: g > d(s).

         10 It will be clear that most of what we have to say about imprisonment here and in subsequent sections
         would carry over, with only slight modification, to other forms of non-monetary sanctions, such as probation,
         electronic monitoring, community service, or, in the extreme, the death penalty.
         11 Strict liability is in fact an unusual form of liability when the sanction is imprisonment. (An example of
         a strict liability criminal offense is the serving of liquor by a bar to underage individuals.) As will be seen,
         fault-based liability tends to be superior to strict liability when the sanction is imprisonment.
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               Social welfare equals the gains individuals obtain from committing the harmful act,
            less the harm caused, and less the cost of imposing prison sentences. The cost of prison
            sentences is the sum of the disutility suffered by the sanctioned individuals and the cost
            to the state of maintaining a prison system. Let

                  c = cost to the state per unit of prison sentence; c > 0.
            Thus, social welfare is
                   ∞
                         [g − h − (d(s) + cs)]z(g)dg.                                                              (5)
                  d(s)

               The enforcement authority’s problem is to maximize social welfare by choosing the
            prison sentence s. From (5), the first-order condition can be written as
                                                    ∞
                  (h + cs)(dZ(d(s))/ds) =                 [d  (s) + c]z(g)dg,                                     (6)
                                                   d(s)

            where Z(·) is the cumulative distribution function for z(·). The left-hand side is the
            marginal benefit of raising s: h + cs is the social gain from deterring the marginal
            individuals, while dZ(d(s))/ds is the number of such individuals deterred.12 The right-
            hand side is the marginal cost of raising s: individuals who are not deterred incur
            additional disutility d  (s) and cause the state to incur additional imprisonment costs c.
               The optimal prison sentence could lead to either underdeterrence or overdeterrence
            due to the costs of prison sentences. To see why, suppose the sentence were such that
            individuals committed the harmful act if and only if their gain equaled the harm. If
            the sentence were raised above this level, some individuals would be deterred, which
            would reduce prison costs, but those who would not be deterred would bear longer
            sentences. Depending on which effect is stronger, it may be desirable to raise, or lower,
            the sentence, leading to overdeterrence or underdeterrence. Note that a marginal change
            of the sentence from the initial level does not affect the gains net of the harm because
            the marginal individuals are those whose gains equal the harm.13
               Regardless of whether the optimal prison sentence causes underdeterrence or overde-
            terrence, the strict sanctioning rule does not achieve the first-best outcome because it
            leads to the imposition of costly sanctions.
               Now consider the fault-based sanctioning rule, with a standard ĝ. Analogously to the
            case of fines, an individual will commit the harmful act under fault-based liability if
            g > min(s, ĝ). If s < ĝ, then there will be some individuals who commit the harmful


            12 The disutility of imprisonment and the benefit from committing the harmful act do not appear in (6)
            because they offset each other for the marginal person.
            13 The point that underdeterrence or overdeterrence may result when the prison sentence is optimally chosen
            was made by Polinsky and Shavell (1984, p. 94). See also Kaplow (1990b).
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         act who will be found at fault, those for whom s < g < ĝ. Then social welfare would be
               ∞               ĝ
                 (g − h)z(g)dg − (d(s) + cs)z(g)dg.                                                                   (7)
               s                          s
         If s ≥ ĝ, then social welfare is
              ∞
                 (g − h)z(g)dg.                                                                                       (8)
               ĝ
           The enforcement authority’s problem is to maximize (7) or (8) by choosing the stan-
         dard ĝ and the sentence s. It is straightforward to see that
               s ∗ = ĝ ∗ = h                                                                                         (9)
         results in the first-best outcome. First observe that first-best behavior will occur. In
         particular, if g < h, the individual would be at fault if he committed the harmful act,
         and bear a sentence equal to h, so he would not commit it. If g ≥ h, he would not be at
         fault if he committed the harmful act and therefore would not bear any sentence, so he
         would commit the act. Second, given (9), costly sanctions will not be imposed because
         individuals will never choose to be at fault. Hence, the first-best outcome is achieved.
         Note that s ∗ and ĝ ∗ are not unique: the first-best outcome also can be achieved by
         keeping ĝ = h and setting s > h.
            The preceding discussion shows that when sanctions are costly, the fault-based sanc-
         tioning rule is superior to the strict sanctioning rule. Not only does the fault-based rule
         lead to first-best deterrence, it does so without anyone actually incurring a costly sanc-
         tion.14


         6. Combined sanctions

         In this section we consider the optimal mix of fines and imprisonment sanctions when
         they can be used together. Under the strict sanctioning rule, social welfare in this case is
                 ∞
                     [g − h − (d(s) + cs)]z(g)dg.                                               (10)
              f +d(s)
            First observe that it cannot be optimal to employ a prison sentence unless the fine has
         been set as high as possible, equal to individuals’ wealth level w. To see why, suppose
         otherwise, that f < w and s > 0. Then it would be possible to raise f and lower s so
         as to keep f + d(s) constant, thereby leaving behavior unaffected but lowering the cost
         of imprisonment (see (10)).

         14 This advantage of the fault-based rule was originally emphasized in Shavell (1987b), which also considered
         the possibility of error, and thus of the bearing of sanctions. On the latter issue, see section 15 below.
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                Whether it is optimal to use a prison sentence in addition to a fine depends on whether
             a fine alone is sufficient to achieve first-best deterrence. If wealth levels are high enough,
             if w ≥ h, then a fine equal to harm is feasible and there would be no need for a prison
             sentence. If, however, w < h, then relying on fines alone would lead to underdeter-
             rence and it might be desirable to employ a prison sentence in addition to the maximal
             fine of w. To see whether a prison sentence would be desirable in these circumstances,
             consider the derivative of (10) with respect to the sentence s when f = w:
                                                              ∞
                   [h − w + cs][dZ(w + d(s))/ds] −                [d  (s) + c]z(g)dg.                 (11)
                                                                 w+d(s)
             It follows that the condition for a positive prison sentence to be optimal is that
                                            ∞
                   [h − w][dZ(w)/ds] > [d  (0) + c]z(g)dg.                                                           (12)
                                                 w
             The left-hand side of (12) is the value of deterring the marginal individuals, while the
             right-hand side is the marginal cost of imposing prison sentences on individuals who
             are not deterred. If a positive prison sentence is socially desirable, it is determined from
             the first-order condition associated with (11).
                Next consider the optimal mix of fines and imprisonment under the fault-based sanc-
             tioning rule. The key point is that, unlike under strict liability, it is always desirable to
             employ prison sentences to obtain compliance with the fault standard if fines alone are
             inadequate to do so. This is because, as noted above, sanctions are not actually imposed
             when the fault standard is complied with, so there is no social cost from using the threat
             of prison sentences to obtain compliance. Thus, any combination of fines and prison
             sentences that induces potential offenders to comply with the fault standard is optimal.

                                 Part B: Basic theory when enforcement is uncertain
             In this part we investigate the level of enforcement resources that the state should devote
             to detecting offenders. We assume that the higher the level of expenditures on enforce-
             ment, the greater is the probability of detection. Let
                       e = enforcement expenditures by the state; and
                   p(e) = probability of detection given e; p  (e) > 0; p  (e) < 0.
             We derive the optimal probability of detection15 and, along with it, the optimal magni-
             tude of sanctions.16
             15 We implicitly assume that enforcement expenditures e determine a single probability of detection. Thus,
             we do not consider an issue identified by Lando and Shavell (2004), that it may be advantageous to concentrate
             enforcement resources on a subset of potential offenders (for example, by auditing taxpayers whose last names
             begin with certain letters) rather than to spread enforcement resources evenly.
             16 Although we assume that the probability of detection can be set independently of the level of sanctions, the
             two might be connected. This is because high sanctions may lead juries to be less likely to convict defendants,
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         7. Monetary sanctions

         In this section we analyze the optimal probability and magnitude of fines, first assuming
         that individuals are risk neutral and then that they are risk averse.

         7.1. The risk-neutral case

         Under the strict liability rule, an individual will commit the harmful act if and only if
         his gain from doing so exceeds the expected fine: g > pf . Social welfare, which now
         reflects the enforcement expenditures of the state, is
                 ∞
                      (g − h)z(g)dg − e.                                                                          (13)
              p(e)f

         The enforcement authority’s problem is to maximize (13) by choosing enforcement
         expenditures e (and thus the probability of detection p), as well as the level of the
         fine f .
            Before considering the complete problem, suppose that enforcement expenditures are
         fixed, resulting in the probability of detection p. It is obvious that if pf = h, namely,
         the expected fine equals the harm, (13) will be maximized over f since the first-best
         outcome will be achieved. In other words,
               f ∗ = h/p,                                                                                         (14)
         assuming that such a fine is feasible. Individuals then commit the harmful act if and
         only if their gain exceeds the harm, which is first-best behavior.17 Note, however, that
         there will be underdeterrence if individuals’ wealth is less than h/p, in which case the
         optimal fine equals their wealth.
            Now suppose that both enforcement expenditures and the fine are chosen by the
         state.18 Then the optimal fine is maximal: f ∗ = w. To demonstrate this, suppose that f
         is less than w. Then f can be raised and e lowered so as to keep p(e)f —the level
         of deterrence—constant. Because the behavior of individuals is unaffected but enforce-
         ment expenditures fall, social welfare rises (the first term in (13) does not change but e
         is lower). Hence, the optimal f cannot be less than w. In other words, because any
         particular level of deterrence can be achieved with different combinations of the fine
         and the probability of detection, society should employ the highest possible fine and


         or may induce individuals to engage in greater efforts to avoid detection; on these points, see Andreoni (1991)
         and Malik (1990), respectively. See also Bar-Gill and Harel (2001) for a discussion of how the level of crime
         affects both the probability and magnitude of sanctions.
         17 The general formula (14), or its equivalent, was put forward by Bentham (1789, p. 173), was emphasized
         by Becker (1968), and has been noted by many others since then.
         18 Consideration of this issue originated with Becker (1968); early writers on law enforcement did not exam-
         ine the issue of the choice of enforcement effort.
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             a correspondingly low probability of detection in order to economize on enforcement
             expenditures.19
                We next show that the optimal probability of detection is such that the expected fine is
             less than the harm, p(e∗ )w < h—that is, some degree of underdeterrence is desirable.
             Observe that the first-order condition determining optimal enforcement expenditures e∗
             is

                   [h − p(e)w][dZ(p(e)w)/de] = 1.                                                                     (15)
             The left-hand side is the marginal social benefit of the deterrent effect from a higher
             probability of detection. The right-hand side is the marginal cost of greater spending
             on enforcement. It follows from (15) that p(e∗ )w < h. To explain this result, suppose
             that p were such that pw = h. Then there would be no first-order loss of social welfare
             from lowering p because the individuals who would be induced to engage in the harm-
             ful activity would obtain gains equal to harm. But enforcement costs would be saved,
             making it desirable to lower the probability. How much p should be lowered depends
             on the resulting savings in enforcement expenses compared to the net social costs of
             underdeterrence.20
                Under fault-based liability, analogues of the above conclusions hold. The optimal fine
             is maximal and the optimal probability of detection is such that the expected fine is less
             than the harm. Moreover, the optimal fault standard is less than the first-best standard.
             The explanation for these results is essentially that given above. The fine is maximal
             in order to reduce the probability of detection and thereby save enforcement costs, and
             some underdeterrence is desirable because this also allows savings in enforcement costs.

             7.2. The risk-averse case

             Now suppose that individuals are risk averse and that social welfare is the sum of ex-
             pected utilities of individuals (in the risk-neutral case, social welfare was equivalent to
             the sum of utilities). For convenience, assume that the risk of being harmed is the same
             for everyone and that individuals buy insurance against harm, paying a premium equal
             to the expected harm. An individual’s wealth is his initial wealth, less the taxes he pays,


             19 Although the general point that a low probability-high fine combination conserves enforcement costs is
             due to Becker (1968), he did not formally consider bounds on fines (and much of his analysis implicitly
             presumes that the optimal fine is not maximal). Carr-Hill and Stern (1979, pp. 300–304) and Polinsky and
             Shavell (1979, pp. 883–884) observed that Becker’s argument implies that the optimal fine is equal to its upper
             bound. Many scholars have noted the unrealism of this result and have introduced additional considerations
             that imply that less-than-maximal fines are optimal. We will discuss several important factors of this type,
             including risk aversion, general enforcement, and marginal deterrence. See also Andreoni (1991), Bebchuk
             and Kaplow (1992, 1993), Malik (1990), and Polinsky and Shavell (1991, 2000b) for discussion of other such
             considerations.
             20 The point of this paragraph—that some underdeterrence is optimal—was first made by Polinsky and
             Shavell (1984).
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         less the expected harm he suffers, and less the fine if he has to pay it. Let
               U (·) = utility of wealth; U is concave in wealth;
                    t = tax; and
                   λ = fraction of population that commits the harmful act.
         Both t and λ are endogenous.
            An individual will commit the harmful act if g + (1 − p)U (w − t − λh) + pU (w −
         t − λh − f ) is greater than U (w − t − λh), or equivalently, if
               g > p[U (w − t − λh) − U (w − t − λh − f )].                                                          (16)
         Note that we are implicitly assuming that the gain g is non-monetary.21 The condi-
         tion (16) implicitly determines the fraction of the population λ that commits the harmful
         act. The tax t is such that the government breaks even; hence t equals the enforcement
         cost e less the fine revenue collected λpf .
            Social welfare, the sum of individuals’ expected utilities, equals
               (1 − λ)U (w − t − λh)
                               ∞
                  +                                       [g + (1 − p)U (w − t − λh)
                      p[U (w−t−λh)−U (w−t−λh−f )]

                   + pU (w − t − λh − f )]z(g)dg − e,                                                                (17)
         since the individuals who commit the harmful act are those whose gains exceed the
         expected disutility of the fine.
            Suppose initially that the probability of detection is fixed. Then the optimal fine in
         the risk-averse case tends to be lower than that in the risk-neutral case for two rea-
         sons. First, lowering the fine reduces the bearing of risk by individuals who commit the
         harmful act. Second, because risk-averse individuals are more easily deterred than risk-
         neutral individuals, the fine does not need to be as high to achieve any desired degree of
         deterrence.22
            Now consider choosing both the probability and magnitude of fines. The optimal
         fine generally is not at its maximum when individuals are risk averse. This is because
         the use of a very high fine would impose a substantial risk-bearing cost on individuals
         who commit the harmful act. More precisely, reconsider the argument employed in
         the risk-neutral case. If f is less than the maximal fine (now w − t − λh), it still is
         true that f can be raised and e lowered so as to keep deterrence constant. But due

         21 If the gain were monetary, then the condition would become (1 − p)U (w + g − t − λh) + pU (w + g −
         t − λh − f ) > U (w − t − λh). The qualitative nature of the results in this section would not be affected.
         22 It is possible, however, that the optimal fine is higher in the risk-averse case than in the risk-neutral case,
         for the following reason. A way to reduce the bearing of risk is to deter more individuals from committing the
         harmful act, for then fewer individuals will be subject to the risk of the fine. See Kaplow (1992).
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             to risk aversion, the probability of detection that maintains deterrence falls more than
             proportionally, implying that the expected fine, and therefore fine revenue, falls. This
             reduction in fine revenue reflects the disutility caused by imposing greater risk on risk-
             averse individuals. If individuals are sufficiently risk averse, the decline in fine revenue
             associated with greater risk bearing could more than offset the savings in enforcement
             expenditures from reducing the probability of detection, implying that social welfare
             would be lower.23
                In effect, when individuals are risk averse, fines become a socially costly sanction
             (reflected in an increase in taxes) rather than a mere transfer of wealth. The more risk
             averse individuals are, the better it is to control their behavior by using a lower fine and
             a higher probability of detection, even though this raises enforcement costs.
                As in the risk-neutral case, there is a reason when individuals are risk averse to reduce
             enforcement costs by setting the probability such that some individuals will commit the
             harmful act even though their gain is less than the harm—meaning that there will be
             some underdeterrence.24
                Under fault-based liability, the conclusions are different from those under strict lia-
             bility. The differences are due to the fact that individuals are induced to comply with
             the fault standard and therefore do not bear risk. Consequently, the results are the same
             as those in the risk-neutral case: the optimal fine is maximal; the optimal probability is
             relatively low; and the optimal fault standard is such that there is some underdeterrence.
                Because, as just emphasized, fines are not actually imposed under fault-based lia-
             bility, fault-based liability is superior to strict liability, under which risk is borne. This
             advantage of fault-based liability is analogous to the advantage of fault-based liabil-
             ity over strict liability when imprisonment is used—a costly sanction is not actually
             imposed.
                Another advantage of fault-based liability is that it may result in lower enforcement
             expenditures than under strict liability. Specifically, because fines are not imposed under
             fault-based liability, it becomes desirable to use a high (maximal) fine, which allows a
             relatively low probability of detection to be employed.
                Of course, in reality, as we will be discussing below, mistakes may occur under fault-
             based liability, resulting in the imposition of risk. To the extent that risk exists under
             fault-based liability, the main result obtained under strict liability—that fines should not
             be maximal—carries over to fault-based liability.


             23 The point that the optimal fine may be less than maximal when individuals are risk averse was proved
             initially by Polinsky and Shavell (1979) in a model with two levels of gain. See also Kaplow (1992), who
             demonstrates in an example that the fine may be less than maximal. It can be shown in the general model
             under discussion here that the optimal fine must be less than maximal if the cost of raising the probability of
             detection is sufficiently small (given that the wealth of individuals is not too low). The idea of the proof is
             that, if the cost of raising the probability were zero, the optimal probability would be one and the optimal fine
             less than maximal (equal to the harm). The conclusion follows by a continuity argument.
             24 It also is possible, however, that overdeterrence would be optimal. The reason is that the imposition of risk
             can be reduced by discouraging individuals from engaging in the harmful activity.
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         8. Nonmonetary sanctions

         In this section we analyze the optimal probability and magnitude of prison sentences,
         first assuming that individuals are risk neutral, then that they are risk averse, and finally
         that they are risk preferring. The last case is of particular relevance for imprisonment
         sanctions, as will be explained.

         8.1. The risk-neutral case

         We assume here that d(s) = s, that is, that the disutility of imprisonment rises in propor-
         tion to the length of the sentence. This implies that individuals are indifferent between a
         sure sentence of s and an uncertain sentence with a mean of s. Thus, individuals display
         a risk-neutral attitude towards imprisonment sentences.
            Under the strict liability rule, an individual will commit the harmful act if and only if
         his gain exceeds the expected sentence: g > ps. Social welfare is
               ∞
                      (g − h − p(e)(s + cs))z(g)dg − e.                                          (18)
              p(e)s

         The enforcement authority’s problem is to maximize (18) by choosing enforcement
         expenditures e and the length of the sentence s.
            In this case the optimal sentence is maximal: s ∗ = sM . As seen above, when the
         sanction is a fine, the optimal sanction is maximal. This is also true here even though
         the sanction is costly to impose. To demonstrate that s ∗ = sM , suppose that s is less
         than sM . Then s can be raised and e lowered so as to keep p(e)s constant. The behavior
         of individuals is unaffected because p(e)s has not changed. The social cost of impris-
         onment also is unaffected because p(e)(s + cs) is constant. In other words, although
         the sentence is higher, proportionally fewer individuals are imprisoned. But because
         enforcement expenditures fall, social welfare rises. Hence, the optimal s equals sM .
            The optimal probability of detection is such that the expected prison sentence could
         lead to either underdeterrence or overdeterrence. This is essentially for the reasons dis-
         cussed above (see section 5) when the probability of detection was fixed at one. Here,
         however, there is an additional factor favoring underdeterrence, namely that by lowering
         the probability, enforcement resources are saved.
            Under fault-based liability, first observe that it must be optimal to have compliance
         with the fault standard. If the expected sentence were less than the standard, so that some
         individuals would choose to violate the standard and bear the expected sentence, then it
         would be optimal to lower the standard to the expected sentence. For then, the behavior
         of individuals would be the same, but the cost of imprisonment would be avoided.
            Next observe that the expected sentence must equal the standard, rather than be
         higher. Otherwise, the probability of detection could be lowered without affecting be-
         havior, but enforcement costs would be saved.
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                It is clear, too, that the optimal sentence must be maximal. This is for the now famil-
             iar reason that, otherwise, the sentence could be raised and the probability of detection
             lowered proportionally, without affecting behavior, but saving enforcement expendi-
             tures (imprisonment costs are zero because of compliance with the standard).25 Given
             s ∗ = sM , the optimal probability satisfies p(e)sM = ĝ because of our observation in
             the previous paragraph.
                The optimal standard ĝ ∗ is less than the harm h; in other words, there is some un-
             derdeterrence. This is true for a reason already discussed: by lowering the standard,
             enforcement costs are saved, but there is no first-order effect on social welfare due to
             more individuals committing the harmful act because their gain equals the harm.
                Finally, as we previously emphasized, fault-based liability possesses the advantage
             over strict liability that costly sanctions are not actually imposed (in the absence of
             mistakes). Moreover, because the optimal sentence is maximal for this reason, a low
             probability of detection can be used.

             8.2. The risk-averse case

             We assume now that the disutility of the sentence d(s) rises more than in proportion to
             the sentence. This could occur because of an increasing desire of a prisoner to join the
             outside world or a growing distaste for the prison environment as time in jail increases.
             This assumption implies that individuals prefer a sure sentence of s to an uncertain
             sentence with a mean of s. In other words, individuals are risk-averse in imprisonment
             sentences.
                Under the strict liability rule, an individual will commit the harmful act if and only if
             his gain exceeds the expected disutility of the sentence, g > pd(s), and social welfare is
                      ∞
                              g − h − p(e)(d(s) + cs))z(g)dg − e.                                                 (19)
                   p(e)d(s)

               The optimal sentence is again maximal: s ∗ = sM . The reasons given in the risk-
             neutral case are reinforced here. As s is raised and e lowered so as to keep p(e)d(s)
             and the behavior of individuals constant, p declines proportionally more than s rises
             because of individuals’ risk aversion. In other words, ps declines, which implies that
             the public cost of imprisonment pcs falls.26 Hence, social welfare rises both because
             the cost of enforcement declines and the cost of imprisonment declines.
               The optimal probability of detection is such that, as in the risk-neutral case, the ex-
             pected prison sentence could lead to underdeterrence or overdeterrence.

             25 Note, too, that the expected sentence remains constant, so even if imprisonment costs were borne, they
             would not change.
             26 Note the contrast with the case of risk aversion in fines, in which the decline in the expected sanction
             pf meant a decline in revenue to the state and thus an increase in taxes. Here the decline in the expected
             sanction ps means a decline in expenses to the state and thus a decrease in taxes.
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            Under fault-based liability, the results are essentially the same as in the risk-neutral
         case because, if the fault standard is complied with, risk is not borne. Thus, it is optimal
         to have compliance with the fault standard; the expected disutility of the sentence must
         equal the standard; the optimal sentence is maximal; there is some underdeterrence;
         and fault-based liability is superior to strict liability. A difference, however, is that the
         probability of detection needed to obtain compliance with the fault standard can be
         lowered because individuals are risk averse.

         8.3. The risk-preferring case

         Finally, suppose that the disutility of the sentence d(s) rises less than in proportion
         to the sentence. This could occur because the disutility from the stigma of being in
         jail might be substantial from having spent even a short amount of time there, but not
         increase much with the length of imprisonment.27 Individuals’ discounting of the future
         disutility of imprisonment also makes earlier years of imprisonment more important
         than later ones. The present assumption implies that individuals prefer an uncertain
         sentence with a mean of s to a sure sentence of s; individuals are risk-preferring in
         imprisonment sentences.
            Under the strict liability rule, social welfare is again given by (19). The optimal sen-
         tence, however, might be less than maximal: s ∗ ≤ sM . Now, when the sentence is
         raised, the probability that maintains deterrence cannot be lowered proportionally, im-
         plying that the expected prison term rises. Because the resulting increased cost to the
         public of imposing imprisonment sanctions might exceed the savings in enforcement
         expenditures from lowering the probability, the optimal prison term might not be maxi-
         mal.28
            Under fault-based liability, the results are again essentially the same as in the risk-
         neutral case.


         9. Combined sanctions

         Under the strict sanctioning rule, as we explained above, it never is optimal to employ a
         prison sentence unless the fine has been set as high as possible, since fines are socially
         cheaper sanctions. Whether it is optimal to use a prison sentence in addition to the
         maximal fine depends on the extent of underdeterrence that would result if fines were
         used alone, and the social cost of imprisonment.
            Under the fault-based sanctioning rule, the key point is that it is always desirable
         to employ the maximal prison sentence in addition to the maximal fine, since neither
         sanction is actually imposed. By using maximal sanctions, the probability of detection
         can be set at a low level, thereby saving enforcement costs.

         27 Also, the first years of imprisonment may create special disutility due to brutalization of the prisoner.
         28 The results in this section were first presented by Polinsky and Shavell (1999) (although Shavell (1991b)
         notes the result in the case of risk neutrality).
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                           Part C: Basic theory summarized and compared to practice

             10. Summary of the basic theory

             In this section we summarize the main points from parts A and B:
                (a) When the probability of detection of a harmful act is taken as fixed and individuals
             are risk neutral, the optimal fine is the harm divided by the probability of detection,
             for this results in an expected fine equal to the harm. However, the risk aversion of
             individuals tends to lower the level of the optimal fine.
                (b) When the probability of detection can be varied, relatively high sanctions may be
             optimal, for this allows a relatively low probability to be employed and thereby saves
             enforcement costs. Indeed, the optimal fine is maximal if individuals are risk neutral in
             wealth, and the optimal imprisonment term is maximal if individuals are risk neutral or
             risk averse in imprisonment. Optimal sanctions might not be maximal, however, when
             individuals are risk averse in wealth or risk preferring in imprisonment, both plausible
             assumptions, although the motive to set sanctions at relatively high levels in order to
             reduce enforcement costs still applies.29
                (c) Optimal enforcement tends to be characterized by some degree of underdeterrence
             relative to first-best behavior, because allowing underdeterrence conserves enforcement
             resources. More precisely, by lowering the probability of detection slightly from a level
             that would lead to first-best behavior, the state reduces enforcement costs, and although
             more individuals commit the harmful act, these individuals do not cause social welfare
             to decline substantially because their gains are approximately equal to the harm.
                (d) The use of fines should be exhausted before resort is made to the costlier sanction
             of imprisonment.
                (e) An advantage of fault-based liability over strict liability is that sanctions that are
             costly to impose—imprisonment, and fines when individuals are risk averse—are im-
             posed less often under the former rule. Under fault-based liability, individuals generally
             are induced (in the absence of mistakes) to obey fault standards, and therefore ordinarily
             do not bear sanctions. Under strict liability, however, individuals who cause harm are
             sanctioned whenever they are caught.
                (f) An advantage of strict liability over fault-based liability is that the former is easier
             to apply. Strict liability requires the state to determine only the harm done, whereas
             fault-based liability requires the state to ascertain optimal behavior (in order to set the
             fault standard) and to observe actual behavior (in order to apply the standard).


             11. Theory versus practice

             Having reviewed the basic theory of public enforcement of law, we briefly comment on
             the relationship between optimal enforcement and enforcement in practice.

             29 There are other reasons why optimal sanctions might not be maximal. See, for example, the discussion of
             general enforcement in section 17.
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            First observe that important features of actual public law enforcement are congruent,
         at least in a broad sense, with what is theoretically desirable. Public enforcement is often
         characterized by low probabilities of detection. This is true for many criminal acts, and
         also is frequently the case in other spheres of public enforcement, such as traffic control
         and tax collection.30 That probabilities of detection are low undoubtedly reflects the
         cost of raising the probability, a central factor in our discussion.
            Corresponding to the low probabilities of detection are relatively high sanctions, often
         exceeding harm. For example, it seems that the sentence for theft typically outweighs
         the harm from that act, that the penalty for double parking frequently surpasses the
         resulting congestion costs, and that the sanction for tax evasion tends to exceed the
         social losses thereby created. Sanctions that are in excess of harm are needed for proper
         deterrence when the probabilities of enforcement are less than one, as they are in these
         examples.
            The theory of optimal public enforcement of law also helps to explain why society
         uses the sanction of imprisonment when it does—for the category of harmful acts la-
         beled criminal, notably, for theft, robbery, rape, murder, and so forth.31 Because such
         acts cause substantial harm, yet often are detected with a low probability, the magni-
         tudes of desirable penalties are high. If these penalties were solely monetary, they often
         would exceed the assets of the individuals who commit the acts, for individuals who
         commit crimes tend to have very low assets.32 Imprisonment sanctions, therefore, usu-
         ally will be required to maintain an adequate level of deterrence of acts classified as
         criminal.33
            Note, too, that the standard of liability when imprisonment sanctions are imposed
         is generally fault-based—imprisonment is premised on the nature of the wrongful act,
         not merely on the fact that harm was done. This is socially desirable because, as we
         stressed, fault-based liability reduces the use of socially costly sanctions.
            Although actual public enforcement is consistent in many respects with the theory of
         optimal enforcement, actual enforcement also appears to deviate in various ways from
         what is theoretically desirable. We note two discrepancies of general importance. First,
         substantial enforcement costs could be saved without sacrificing deterrence by reducing


         30 U.S. Department of Justice (1997b, p. 205, table 25) indicates, for example, that the likelihood of arrest
         was 13.8% for burglary, 14.0% for automobile theft, and 16.5% for arson. Kenkel (1993, p. 145) estimates
         that the probability of arrest for drunk driving is “only about .003.” And according to Andreoni et al. (1998,
         p. 820), the audit rate for individual tax returns was 1.7 percent in 1995.
         31 See generally Posner (1985, pp. 1201–1205), Shavell (1985, pp. 1236–1241), and Shavell (2004, pp. 543–
         568).
         32 For example, in U.S. Department of Justice (1988, p. 35) it is reported that “the average inmate was at the
         poverty level before entering jail” and in U.S. Department of Justice (1998, p. 4) it is stated that almost half
         of jail inmates reported incomes of less than $600 a month in the month before their most recent arrest.
         33 The use of imprisonment sanctions also makes sense in view of their incapacitative function: crimes cause
         substantial harm and may be difficult or expensive to deter (for the reason we just emphasized, as well as
         others), so that it often will be desirable to incapacitate individuals who have committed them. See section 25.
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             enforcement effort and simultaneously raising fines. This is possible in many enforce-
             ment contexts because fines are presently very low relative to the assets of violators. For
             example, fines for most parking violations are less than $50, penalties for underpayment
             of income taxes are typically on the order of 20% of the amount not paid, and fines for
             corporate violations of health and safety regulations are frequently minuscule in rela-
             tion to corporate assets. In such areas of enforcement, therefore, fines could readily be,
             say, doubled and enforcement costs reduced significantly, while maintaining deterrence
             at present levels.
                Not only can present levels of deterrence be achieved more cheaply, it also seems
             that these levels are often too low. This is a reasonable supposition given the limited
             use of fines that we just noted and the low probabilities of their application. For ex-
             ample, the probability of a tax audit is approximately 2%; when combined with the
             modest penalties for underpayment, one would predict substantial tax avoidance.34 Ev-
             idence also suggests that the expected fine for driving while intoxicated is on the order
             of one-quarter of the expected harm caused by such behavior,35 and that monetary sanc-
             tions imposed on corporations equal on average only thirty-three percent of the harms
             caused.36 Given the ample opportunities that exist for augmenting penalties, as well as
             the possible desirability of increasing enforcement effort, society probably should raise
             levels of deterrence in many areas of enforcement.


                                           Part D: Extensions of the basic theory

             This concludes the presentation of the basic theory of public enforcement of law. We
             now turn to various extensions and refinements of the basic analysis.


             12. Accidental harms

             In our analysis above, we implicitly assumed that the acts that individuals commit result
             in harm with certainty. In many circumstances, of course, acts result in harm only with

             34 In 1995 the audit rate for individual returns was 1.7 percent, as noted above, and the civil penalty for
             underpayment of taxes ordinarily is calculated as 20 percent of the underpayment that results from wrongful
             conduct (such as substantially misstating a valuation). See Andreoni et al. (1998, p. 820). Thus, for every
             dollar of underpayment, the expected payment, including the underpayment and the civil penalty, is only
             approximately $0.02 (= .017 × $1.20).
             35 See Kenkel (1993, p. 145). The expected fine is $12.82 and the expected harm is $47.77 (both in 1986
             dollars). While the latter number may seem low, keep in mind that it is the product of the probability that
             a harm will occur as a result of drunken driving, and the level of harm if harm does occur. (To properly
             determine whether dangerous driving is underdeterred, one also would have to take into account the threat of
             liability from private suits brought by accident victims. But the deterrent effect of such suits will be dulled to
             the extent that drivers do not have sufficient assets to pay for the harms suffered by accident victims, or have
             liability insurance and therefore only partially bear the financial consequences of a lawsuit.)
             36 See Cohen (1989, pp. 617–618, 658). Cohen notes, however, that he did not take into account other sanc-
             tions imposed on corporate criminals, including restitution, civil penalties, and private tort suits.
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         a probability. A driver that speeds only creates a likelihood of a collision; or a firm that
         stores toxic chemicals in a substandard tank only creates a probability of a harmful spill.
            Essentially all of the results in the basic analysis carry over in a straightforward way
         when harms are accidental. If individuals are risk neutral, sanctions are monetary, and
         the expected sanction equals harm whenever harm turns out to occur, then induced
         behavior will still be socially optimal; further, the optimal magnitude of sanctions is
         maximal if individuals are risk neutral because this allows enforcement costs to be
         saved, but is not necessarily maximal if individuals are risk averse, and so forth. Our
         general conclusions in the basic analysis can thus be interpreted to apply both when
         harms occur for sure and when harms occur accidentally.
            There is, however, a new issue that arises when harm is uncertain: a sanction can be
         imposed either on the basis of the commission of a dangerous act that increases the
         chance of harm—storing chemicals in a substandard tank—or on the basis of the actual
         occurrence of harm—only if the tank ruptures and results in a spill. In principle, either
         approach can be employed to achieve optimal deterrence. To illustrate, suppose that the
         substandard tank has a 10% chance of rupturing, in which case the harm would be $10
         million; the expected harm from using the tank therefore is $1 million. If individuals
         are risk neutral and sanctions are imposed only when harm occurs, deterrence will be
         optimal if, as usual, the sanction equals the harm of $10 million (assuming for simplicity
         that individuals are always found liable). Alternatively, if sanctions are imposed on the
         basis of the dangerous act of using the substandard tank, deterrence will be optimal if
         the owner of the tank faces a sanction equal to the expected harm due to his use of the
         substandard tank, $1 million.
            Several factors are relevant to the choice between act-based and harm-based sanc-
         tions. First, act-based sanctions need not be as high to accomplish a given level of
         deterrence, and thus offer an advantage over harm-based sanctions because of limita-
         tions in parties’ assets. In the example in the preceding paragraph, the owner of the
         storage tank might be able to pay the $1 million required if sanctions are act-based but
         not the $10 million required if sanctions are harm-based. Second, and closely related,
         because act-based sanctions need not be as high to accomplish deterrence, they tend
         to be preferable to harm-based sanctions when parties are risk averse. Third, act-based
         sanctions and harm-based sanctions may differ in the ease with which they can be ap-
         plied. In some circumstances, act-based sanctions may be simpler to impose (it might be
         less difficult to determine whether an oil shipper properly maintains its vessels’ holding
         tanks than to detect whether one of the vessels leaked oil into the ocean); in other cir-
         cumstances, harm-based sanctions may be more readily applied (a driver who causes an
         accident might be caught more easily than one who speeds but does not cause an acci-
         dent). Fourth, it may be hard to calculate the expected harm due to an act, but relatively
         easy to ascertain the actual harm if it eventuates; if so, this constitutes an advantage of
         harm-based liability.37


         37 Act-based versus harm-based enforcement is discussed in Shavell (1993).
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             13. Precautions

             In this section we consider a model in which harm is accidental, as in the previous
             section, and in which the probability of harm depends on the level of precautions taken
             by a potential injurer. Thus, the major difference from the basic model considered in
             earlier sections is that the act is continuously variable. The main results of the basic
             analysis carry over to the model of precautions. For simplicity, we focus on the case in
             which enforcement is certain. Let

                        x = level of precautions taken by a potential injurer; and
                   q(x) = probability of harm given x; q  (x) < 0; q  (x) > 0.

                 The usual social objective of maximizing social welfare now can be expressed as
             minimizing social costs, that is, minimizing the sum of the cost of precautions and the
             expected harm: x + q(x)h. Let x ∗ > 0 be the solution to this problem.
                 First consider strict liability when the sanction is a fine equal to the harm. Then an
             individual’s problem is to minimize x + q(x)h, so he will choose x ∗ (and obviously
             would not if the fine did not equal harm).
                 Next consider fault-based liability when the standard corresponds to x ∗ and the sanc-
             tion is a fine equal to harm. If an individual takes less precaution than x ∗ , he bears costs
             of x + q(x)h, while if he takes precaution equal to or greater than x ∗ , he bears cost of x.
             It is straightforward to show that he will exercise precautions equal to x ∗ .38
                 Thus, as in the basic theory, strict liability and fault-based liability result in the first-
             best outcome when sanctions are monetary and are applied for sure. Similar reasoning
             would demonstrate that all of the other primary conclusions in the basic theory would
             carry over to the model of precautions.
                 To illustrate, reconsider the case when individuals are risk neutral, liability is strict,
             and the sanction is a fine. Social costs are x + q(x)h + e. The level of precautions x is
             determined by the individual minimizing x + q(x)p(e)f . Again, the optimal fine must
             be the individual’s wealth w (otherwise, f could be raised and e lowered without affect-
             ing deterrence) and the optimal p is such that pw < h.39 Therefore, at the optimum,
             the level of precautions is less than the first-best level.



             38 Conditional on choosing x ≥ x ∗ , his best choice clearly is x ∗ , as that minimizes his expense, which is x ∗ .
             If he chooses x < x ∗ , his expense is x + q(x)h, which exceeds x ∗ + q(x ∗ )h > x ∗ . Hence, x ∗ is strictly
             optimal for him.
             39 Let x(e) be the x determined by the individual’s optimization problem, given f = w and enforce-
             ment expenditures e. The individual minimizes x + q(x)p(e)w, with the resulting first-order condition
             1 + q  p(e)w = 0. The social problem is to minimize x(e) + q(x(e))h + e. The first-order condition can
             be written as x  (1 + q  h) + 1 = 0. We know that x  > 0. Therefore, it must be that 1 + q  h < 0. Solving
             for q  from the individual’s first-order condition and substituting it into this expression implies that pw < h.
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         14. Activity level

         We have been assuming that the sole decision that an individual makes is whether to act
         in a way that causes harm when engaging in some activity. In many contexts, however,
         an individual also makes a choice about his activity level—that is, not only does he
         choose whether to act in a harmful way while engaging in an activity, he also chooses
         whether to engage in that activity, or, more generally, at what level to do so. For example,
         in addition to deciding whether to comply with auto emissions controls (maintaining a
         catalytic converter), an individual also chooses how many miles to drive; the number
         of miles driven is the individual’s level of activity. Similarly, not only does a firm de-
         cide whether to comply with workplace safety regulations, it also chooses its level of
         production; the output of the firm is its level of activity.
            The socially optimal activity level is such that the individual’s marginal utility from
         the activity just equals the marginal expected harm caused by the activity. Thus, the
         optimal number of miles driven is the level at which the marginal utility of driving an
         extra mile just equals the marginal expected harm per mile driven. The determination of
         the optimal level of activity presumes that individuals act optimally when engaging in
         the activity—for example, that they drive with appropriate care.
            To illustrate this formally, let
                    r = level of activity; and
               U (r) = utility from activity level r; U  (r) > 0; U  (r) < 0.
         We suppose that an individual chooses how much precaution to take (see the previ-
         ous section) while engaging in a harm-creating activity, with the level of harm being
         proportional to his level of activity.40 Then social welfare is
               U (r) − r[x + q(x)h].                                                                             (20)
         Note that the optimal level of precaution x ∗ minimizes x + q(x)h, and thus is as dis-
         cussed in section 13. The optimal level of activity therefore is determined by
               U  (r) = x ∗ + q(x ∗ )h;                                                                         (21)
         that is, the marginal utility from the activity equals the social cost of the activity, which
         is the sum of the cost of precautions and the expected harm.
            Will parties’ choices about their activity levels and precautions be socially correct
         under the two standards for imposing sanctions? The answer is that under strict liability,
         their choices about both activity levels and precautions will be socially correct. This is
         clear since, assuming for simplicity that enforcement is certain and the sanction is a fine
         equal to harm, their objective also is to maximize (20). In particular, because they bear

         40 We are employing the model of precautions described in the previous section for convenience. It also
         would be possible to develop the points about activity level using the model from the basic analysis, in which
         the harm-producing action of an individual is not continuously variable.
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             a fine equal to harm, they choose the optimal level of precautions x ∗ when engaging
             in their activity. And since they incur the full social costs of precautions plus expected
             harm when engaging in their activity, they choose the optimal level of activity.
                Under the fault-based standard, however, parties will participate in activities to a
             socially excessive extent. To explain, observe that parties choose the optimal level of
             precautions x ∗ in order to avoid the fine, as seen in section 13. Because parties choose
             this level of precautions, they will not be found liable for having violated the standard
             if harm occurs. Hence, their choice of activity level r is determined by maximizing
             U (r) − rx ∗ , with the corresponding first-order condition
                   U  (r) = x ∗ .                                                                                    (22)
             Comparing this to (21), it is evident that r exceeds r ∗ . The reason is that the private
             marginal cost of increasing participation in the activity is only the precaution cost x ∗ ;
             it does not include the expected harm. Thus, for instance, if a person complies with
             auto emissions standards, he will not be concerned with the fact that the more he drives,
             the more pollution he causes (assuming that some pollution occurs even if one obeys
             emissions standards). Consequently, he will drive too much.
                The implication of the preceding points in relation to firms is that under the strict
             sanctioning rule, the product price will reflect both the cost of precautions and the ex-
             pected harm caused by production, so that the price will include the full social cost of
             production. Hence, the amount purchased, and thus the level of production, will be so-
             cially optimal. Under the fault-based rule, however, the product price will reflect the cost
             of precautions but not expected harm; thus, the amount sold, and the level of production,
             will be excessive.41
                These conclusions about firms are of widespread applicability. Notably, safety reg-
             ulations and other regulatory requirements are often framed as standards of care that
             have to be met, but which, if met, free the regulated party from penalties. Hence, regu-
             lations of this character are subject to the criticism that they lead to excessive levels of
             the regulated activity. Making firms strictly liable for harm would be superior to safety
             regulation with respect to inducing socially correct activity levels.
                That parties choose an excessive level of activity under the fault-based rule—of which
             regulation is one variant—but not under the strict liability rule, constitutes a funda-
             mental advantage of the latter rule. This advantage is stronger the greater is the harm
             from engaging in the activity (given that precautions are optimal when engaging in the
             activity). Thus, for activities for which expected harm is likely to be substantial, the
             disadvantage of the fault-based standard is significant.
                More generally, the advantage of strict liability over fault-based liability applies to
             any dimension of behavior that affects expected harm but that is not included in the de-
             finition of fault. For example, suppose that pollution damage depends both on whether

             41 Our discussion here about activity-level considerations in the context of public enforcement closely par-
             allels the analysis of activity-level issues in the context of tort liability. See generally Shavell (1980) and
             Polinsky (1980b).
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         a scrubber is installed as well as on the degree of care with which it is cleaned. Be-
         cause the existence of a scrubber is easy to verify but its maintenance might not be, a
         fault-based sanctioning system might, of necessity, reflect only the first dimension of
         behavior. Consequently, the firm will have a socially inadequate incentive to clean the
         scrubber under a fault standard. This problem does not arise under a strict sanctioning
         system because the firm has to pay for harm regardless of its cause.


         15. Errors

         Errors of the two classic types can occur in public enforcement of law. First, an indi-
         vidual who should be found liable might mistakenly not be found liable—what we will
         refer to as “mistaken acquittal.” Second, an individual who should not be found liable
         might mistakenly be found liable—“mistaken conviction.” For an individual who has
         been detected, let
               εA = the probability of mistaken acquittal; and
               εC = the probability of mistaken conviction.
         For example, suppose police randomly monitor drivers by stopping them and admin-
         istering a blood-alcohol test. The test might understate the amount of alcohol in the
         driver’s blood and result in mistaken acquittal, or overstate the amount and lead to mis-
         taken conviction.
            We initially consider the effect of mistake in the basic model of enforcement, assum-
         ing that the sanctioning standard is strict, the sanction is a fine, and individuals are risk
         neutral. Given the probability of detection p and the chances of mistaken acquittal and
         conviction, an individual will commit the wrongful act if and only if his gain net of his
         expected fine if he does commit it exceeds what he bears if he does not commit it:
               g − p(1 − εA )f > −pεC f,                                                                      (23)
         or, equivalently, if and only if42
               g > (1 − εA − εC )pf.                                                                          (24)
         Note initially that both types of error reduce deterrence: the right-hand side of (24) is
         declining in both εA and εC . Mistaken acquittal diminishes deterrence because it lowers
         the expected fine if an individual violates the law. Mistaken conviction also lowers de-
         terrence because it reduces the difference between the expected fine from violating the
         law and not violating it. In other words, the greater is εC , the smaller the increase in the
         expected fine if one violates the law, making a violation less costly to the individual.43

         42 We assume that 1 − ε − ε > 0, so that the probability that a guilty person will be found liable, 1 − ε ,
                                  A     C                                                                         A
         exceeds the probability that an innocent person will be found liable, εC .
         43 This point was first emphasized by Png (1986).
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                Because mistakes dilute deterrence, they tend to reduce social welfare. Specifically, to
             achieve any level of deterrence, it may be necessary to raise the probability of detection
             or the magnitude of a costly sanction to offset the effect of errors.
                Now consider the optimal choice of the fine. If the probability of detection is assumed
             to be fixed, the dilution in deterrence caused by errors requires a higher fine to restore
             deterrence, so the optimal fine is higher.44 If both the probability and the fine are policy
             instruments, the optimal fine remains maximal despite mistakes. The explanation is
             essentially that given previously: If the fine f were less than maximal, then f could
             be raised and the probability p lowered so as to keep deterrence constant, but saving
             enforcement costs.
                If individuals are risk averse, however, the possibility of mistakes does affect the
             optimal fine. As we emphasized in section 7.2, the optimal fine generally is less than
             maximal when individuals are risk averse—lowering the fine reduces the bearing of
             risk. Introducing the possibility of mistakes may increase the desirability of lowering
             the fine because, due to mistaken conviction, individuals who do not violate the law are
             subject to the risk of having to pay a fine. Indeed, because the number of persons who
             do not violate the law often would far exceed the number who do, the desire to avoid
             imposing risk on the former group can lead to a substantial reduction in the optimal
             fine.45
                The possibility of mistakes generally affects the optimal probability of detection. On
             one hand, the deterrence-diluting effects of mistakes means, as we noted, that a higher
             probability of detection may be needed to achieve any given level of deterrence; this
             effect tends to raise the optimal expenditure on enforcement. On the other hand, because
             mistakes reduce the productivity of enforcement expenditures by a factor of 1 − εA − εC
             (see (24)), the cost of achieving a given level of deterrence is higher; this effect tends to
             reduce the optimal expenditure on enforcement. Either of these effects could dominate
             and lead to an optimal probability of detection that is higher or lower than in the absence
             of mistakes.
                Next, consider imprisonment and mistake. As in the case of fines, mistakes of both
             type dilute the deterrent effect of imprisonment. Additionally, as in the case without
             mistakes, the optimal imprisonment term is maximal if individuals are risk neutral or
             risk averse in imprisonment, but is generally not maximal if they are risk preferring in
             imprisonment.46

             44 Specifically, to achieve first-best behavior, it must be that (1 − ε − ε )pf = h, which implies that f
                                                                                    A   C
             must be higher the greater are either of the errors, εA or εC .
             45 Building on Polinsky and Shavell (1979), Block and Sidak (1980, pp. 1135–1139) emphasize the desir-
             ability of lowering sanctions on risk-averse individuals because of mistakes.
             46 That the optimal term remains maximal if individuals are risk neutral or risk averse might seem surprising
             because one might expect that the chance of mistaken conviction would result in a lower optimal term. But the
             usual argument still applies: If the term were not maximal, it could be raised and the probability of detection
             could be lowered at least proportionally without sacrificing deterrence. Hence, the aggregate amount of jail
             time served by individuals who do not commit the harmful act would remain the same or fall, and enforcement
             expenditures would decline.
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            The possibility of mistakes also affects individuals’ decisions regarding their par-
         ticipation in activities. Everything else equal, mistaken acquittals lead to increased
         engagement in the activity, and mistaken convictions result in decreased engagement.
         The net effect could be a socially excessive or inadequate activity level.47
            We have not yet commented on fault-based liability and mistake. In this context, an
         important implication of mistake is that some individuals will bear sanctions even if they
         comply with the fault standard. Consequently, both types of error reduce the incentive
         to comply with the fault standard in the basic model, for essentially the same reasons as
         under strict liability.
            However, in the model with variable precautions, there is a possibility that error will
         lead to an excessive level of precautions—above the optimal level. Assume that the
         actual level of precautions x is observed with an error ε. If the observed level of precau-
         tions, x + ε, exceeds the standard x, the person will not be liable because he will not be
         found to be at fault. But if x + ε is less than x, then the person will be liable. The person
         will be found mistakenly liable if x is greater than or equal to x but x + ε is less than x;
         the person will be mistakenly acquitted if x is less than x but x + ε equals or exceeds x.
         Note that the probabilities of the two types of error depend on the person’s choice of x.
         By choosing an x above x, the person can reduce the risk of mistaken conviction, and
         it can be shown that he will be led to choose such an excessive x under fairly gen-
         eral conditions. In other words, individuals will often have a motive to take excessive
         precautions in order to reduce the chance of erroneously being found at fault.48
            Errors also influence individuals’ participation in the activity under fault-based liabil-
         ity, similar to the effects of errors under strict liability. The main difference is that there
         is a general tendency for individuals to participate in the activity to an excessive extent
         under fault-based liability, for the reason explained in the previous section. Only if the
         chance of mistaken conviction is sufficiently high would this conclusion be reversed.
            Finally, observe that the probabilities of error can be influenced by policy choices.
         For example, prosecutorial resources can be increased in order to reduce the probability
         of mistaken acquittal, or the standard of proof can be raised to reduce the chance of
         mistaken conviction (although this presumably increases the likelihood of mistaken ac-
         quittal). Because the reduction of both types of error increases deterrence, expenditures
         made to reduce errors may be socially beneficial.49




         47 Recall, too, that if the probability of detection is fixed, the fine needs to be raised to offset the deterrence-
         diluting effects of mistakes. Raising the fine to this extent, however, leads to an inadequate incentive to engage
         in the activity. This problem, in turn, can be remedied by use of an appropriate subsidy for participating in the
         activity. For the details behind this point, see Png (1986).
         48 This point was first emphasized by Craswell and Calfee (1986).
         49 On the value of accuracy in adjudication, see Kaplow and Shavell (1994a).
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             16. Costs of imposing fines

             We inquire in this section about the implications of costs borne by enforcement author-
             ities in imposing fines.50 Our principal observation is that such costs should raise the
             level of the fine.
                To elaborate, suppose that the probability of detection is fixed at p, that liability is
             strict, and that individuals are risk neutral. If fines are costless to impose, the optimal
             fine is h/p, the harm divided by the probability of detection (see (14)). Now suppose
             that the enforcement authority bears a cost each time a fine is imposed; let

                   k = cost of imposing a fine on an offender.
             It is easy to verify that the optimal fine then is

                   f ∗ = h/p + k;                                                                                  (25)
             the cost k should be added to the fine that would otherwise be desirable. The explanation
             is that, if an individual commits a harmful act, he causes society to bear not only the
             immediate harm h, but also, with probability p, the cost k of imposing the fine—that
             is, his act results in an expected total social cost of h + pk. If the fine is set according
             to (25), the individual’s expected fine is h + pk, which leads him to engage in the
             harmful act if and only if his gain exceeds the expected total social cost of the act.
                There may be other costs associated with the imposition of fines. In particular, sup-
             pose that detection is followed by a costly second stage during which the state investi-
             gates and prosecutes an individual, and at the end of which a fine is imposed only with
             a probability. Let

                   s = cost of the investigation-prosecution stage; and
                   q = probability of a fine being imposed after the investigation-prosecution stage.
             Hence, the probability that an individual will have to pay a fine is pq and the expected
             costs of imposing a fine, including the expected investigation-prosecution cost, become
             ps + pqk.
               It is readily shown that the optimal fine now is

                   f ∗ = h/pq + s/q + k.                                                                           (26)
             This formula illustrates a general principle: the optimal fine equals the costs incurred by
             society as a result of the harmful act divided by the probability—at the time that each
             component of cost is incurred—that the individual will have to pay the fine. Thus, h
             is divided by pq because, when the harm occurs, the probability of having to pay the
             fine is pq; and s is divided by q because, when the investigation-prosecution costs are


             50 We have already discussed the cost of imposing imprisonment sanctions—specifically, the cost to the state
             per unit of the imprisonment term, c.
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         incurred, the probability of having to pay the fine is q. If the fine is computed according
         to this principle, the expected fine will equal the expected social costs due to an individ-
         ual committing a harmful act, including the harm caused and the expected sanctioning
         costs—that is, h + ps + pqk.
            Note that under fault-based liability, the costs of imposing fines is significantly lower,
         if not zero. This is because, if individuals comply with the fault standard, they do not
         bear sanctions, in which case there are no costs associated with imposing sanctions.
         However, if individuals are found at fault (say because of errors), the fines imposed on
         them also should reflect the costs of imposing fines.
            Finally, observe that not only does the state incur costs when fines are imposed, so do
         the individuals who pay the fines (such as legal defense expenses). The costs borne by
         individuals, however, do not affect the formula for the optimal fine. Individuals properly
         take these costs into account because they bear them directly.51


         17. General enforcement

         In many settings, enforcement may be said to be general in the sense that several differ-
         ent types of violations may be detected by an enforcement agent’s activity. For example,
         a police officer waiting along the side of a road may notice a driver who litters as well
         as a driver who goes through a red light or who speeds; or a tax auditor may detect a
         variety of infractions when he examines a tax return. To analyze this type of situation,
         suppose that a single probability of detection applies to all harmful acts, regardless of
         the magnitude of the harm.52 (The contrasting assumption is that enforcement is spe-
         cific, meaning that the probability is chosen independently for each type of harmful
         act.)
            The main point that we want to make is that when enforcement is general, the optimal
         sanction rises with the severity of the harm and is maximal only for relatively high
         harms. To see this, assume that liability is strict, the sanction is a fine, and individuals
         are risk neutral. Let f (h) be the fine given harm h. Then, for any general probability of
         detection p, the optimal fine schedule is

               f ∗ (h) = h/p,                                                                                         (27)
         provided that h/p does not exceed the maximum feasible fine (say individuals’ wealth
         level w); if h/p is not feasible, the optimal fine is maximal. This schedule is obviously


         51 The points developed in this section were first presented in Polinsky and Shavell (1992), although early
         writers on enforcement theory—including Becker (1968, p. 192) and Stigler (1970, p. 533)—recognized that
         sanctions should reflect enforcement costs.
         52 It will be clear that the main point developed in this section does not depend on the assumption that the
         same probability applies to all acts. The only requirement is that the probabilities for different acts are linked,
         all a function of the same enforcement expenditure.
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             optimal given p because it implies that the expected fine equals harm, thereby inducing
             first-best behavior, whenever that is possible.
                The question remains whether it would be desirable to lower p and raise fines to the
             maximal level for the low-harm acts for which f ∗ (h) is less than maximal. But if p is
             reduced for the relatively low-harm acts (and the fine raised for them), then p—being
             general—is also reduced for the high-harm acts for which the fine is already maximal,
             resulting in lower deterrence of these acts. The decline in deterrence of high-harm acts
             may cause a greater social loss than the savings in enforcement costs from lowering p.
             To express this point differently, p must be sufficiently high to avoid significant under-
             deterrence of high-harm acts (for which fines are maximal). But since this p also applies
             to less harmful acts, the fines for them do not need to be maximal in order to deter them
             appropriately.53
                The result that, when enforcement is general, sanctions should rise with the severity
             of harm up to a maximum also holds if the sanction is imprisonment and if liability is
             fault-based. The underlying reasoning is the same as that given above.54


             18. Marginal deterrence

             In many circumstances, an individual may consider which of several harmful acts to
             commit, for example, whether to release only a small amount of a pollutant into a river
             or a large amount, or whether only to kidnap a person or also to kill him. In such
             contexts, the threat of sanctions plays a role in addition to the usual one of deterring
             individuals from committing harmful acts: for individuals who are not deterred, ex-
             pected sanctions influence which harmful acts individuals choose to commit. Notably,
             such individuals will have a reason to commit less harmful rather than more harmful
             acts if expected sanctions rise with harm. Deterring a more harmful act by having its
             expected sanction exceed that for a less harmful act is sometimes referred to as marginal
             deterrence.55
                Other things being equal, it is socially desirable that enforcement policy creates mar-
             ginal deterrence, so that those who are not deterred from committing harmful acts have
             a reason to moderate the amount of harm that they cause. This suggests that sanctions
             should rise with the magnitude of harm and, therefore, that most sanctions should be less
             than maximal. However, promoting marginal deterrence may conflict with achieving de-
             terrence generally: for the schedule of sanctions to rise steeply enough to accomplish

             53 Note that if p could be varied independently for a low-harm act and for a high-harm act—that is, if
             enforcement is specific rather than general—then it would be desirable to lower p and raise the fine for a
             low-harm act if the fine for it were less than maximal.
             54 The basic point of this section was first made by Shavell (1991b); see also Mookherjee and Png (1992) for
             a closely related analysis.
             55 The notion of marginal deterrence was remarked upon in some of the earliest writing on enforcement; see
             Beccaria (1767, p. 32) and Bentham (1789, p. 171). The term marginal deterrence apparently was first used
             by Stigler (1970).
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         marginal deterrence, sanctions for less harmful acts might have to be so low that indi-
         viduals are inadequately deterred from committing these acts.56
            To illustrate the implications of marginal deterrence, consider the following example
         in which sanctions are monetary and liability is strict. Suppose that there are two harm-
         ful acts, with harms h1 and h2 , where h1 < h2 , that the probability of detection p is the
         same for both acts, and that individuals have the same level of wealth w. We will first
         consider a one-act model in which there can be no marginal deterrence because each
         individual can commit only one type of harmful act. We will then compare the results in
         this case to a two-act model in which each individual can commit either of two harmful
         acts.
            In the one-act model, suppose some individuals have the opportunity to commit an
         act causing harm of h1 and other individuals have the opportunity to commit an act
         causing harm of h2 . It is optimal to set the fine for the high-harm act equal to w, for
         otherwise it would be possible to raise the fine for both acts and lower the probability of
         detection p without affecting deterrence, but saving enforcement costs. It also follows
         that the optimal p is such that pw is less than h2 , that is, there is some underdeterrence
         of the high-harm act. The reason is that if pw = h2 , there would be no first-order loss
         of social welfare in terms of gains and harm if p is lowered (since marginal individuals
         are those for whom g = h2 ), but enforcement costs would be saved. Given the common
         probability p, the fine f1 for the lesser offense then can be set such that pf1 = h1
         (assuming such a fine is feasible), achieving first-best deterrence of this offense.
            In the two-act model, each individual can commit an act causing harm of h1 or an
         act causing harm of h2 . Again, it is optimal to set the fine for the high-harm act equal
         to w and for there to be underdeterrence of the high-harm act. Now, however, f1 should
         be such that pf1 is less than h1 , instead of equaling h1 . The essential reason for this
         result is that the reduction in f1 from h1 /p leads some offenders to commit the act
         causing harm h1 instead of the act causing higher harm h2 . This can be shown to raise
         social welfare even though the reduction in f1 leads some individuals to commit the
         low-harm act who otherwise would not have committed either harmful act.57 In other
         words, achieving marginal deterrence by reducing the expected fine for the low-harm
         act raises social welfare.
            Two additional observations should be made about marginal deterrence. First, mar-
         ginal deterrence can be promoted by increasing the probability of detection as well as
         the magnitude of sanctions for acts that cause greater harm. For example, kidnappers
         can be deterred more from killing their victims if greater police resources are devoted


         56 For formal treatments of marginal deterrence, see Shavell (1992), Wilde (1992), and Mookherjee and Png
         (1994).
         57 This conclusion essentially follows from two observations. First, because pw is less than h , some indi-
                                                                                                       2
         viduals who had been committing the high-harm act were causing a net loss of social welfare (their gain was
         less than h2 ). Second, as f1 is lowered marginally from h1 /p, individuals who are induced to commit the
         act causing harm h1 (who either would have committed the high-harm act or not committed any harmful act)
         cause no net loss of social welfare (their gain equaled h1 ).
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             to apprehending kidnappers who murder their victims than to those who do not. (Note,
             though, that in circumstances in which enforcement is general, the probability of de-
             tection cannot be independently altered for acts that cause different degrees of harm.)
             Second, marginal deterrence is naturally accomplished if the expected sanction equals
             harm for all levels of harm; for if a person is paying for harm done, he will have to pay
             appropriately more if he does greater harm. Thus, for instance, if a polluter’s expected
             fine would rise from $100 to $500 if he dumps five gallons instead of one gallon of
             waste into a lake, where each gallon causes $100 of harm, his marginal incentives to
             pollute will be correct.58


             19. Principal–agent relationship

             Although we have assumed that an offender is an independent single actor, in fact the
             offender is often an agent of a principal. For example, the agent could be an employee of
             a firm or a subcontractor of a contractor. The enforcement problem is now how to max-
             imize social welfare by choosing enforcement effort and the sanctions to be imposed
             on principals and agents. This maximization is carried out under the assumption that
             a principal chooses a contract with his agent that maximizes the principal’s expected
             utility subject to two constraints: that the agent receive his reservation level of expected
             utility; and that the agent maximizes his own expected utility.
                When harm is caused by an agent, many of our conclusions from the basic analysis
             carry over if the sanction is imposed on the principal. For example, given the probability
             of detection p, it is optimal for a risk-neutral principal to face a fine of h/p. Then the
             expected fine is equal to harm done. Consequently, the principal will behave socially
             optimally in controlling his agents, and in particular will contract with them and monitor
             them in ways that will give the agents socially appropriate incentives to reduce harm.59
                A question about enforcement that arises when there are principals and agents is how
             to allocate financial sanctions between them. First observe that the particular allocation
             of sanctions may not matter when, as would be the natural presumption, the principal


             58 As we discussed in section 7.1, however, it generally is desirable for society to tolerate some underde-
             terrence in order to save enforcement costs, in which case expected sanctions will be less than harm. Then,
             consideration of marginal deterrence alters the structure of sanctions that would otherwise be best, as the
             comparison of the one-act model to the two-act model in this section showed.
             59 There is relatively little literature on the question of optimal enforcement when wrongdoers are agents
             of principals. Newman and Wright (1990) study the optimal monetary sanction to impose on a risk-neutral
             principal when liability is strict and is imposed for sure; they show that it equals harm. Polinsky and Shavell
             (1993) demonstrate the potential desirability of imposing criminal sanctions on an employee who causes
             harm, even when the employer is capable of paying for the harm. Arlen (1994) examines the effect of sanctions
             on corporations’ incentives to monitor their employees, and she emphasizes the possibility that corporations
             may have perverse incentives not to monitor if they would become liable as a result of their discovering and
             reporting employee violations. Also, Shavell (1997b) finds that optimal sanctions on corporations could be
             above or below harm when employee assets are less than harm.
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         and the agent can reallocate sanctions through their own contract. For example, if the
         agent finds that he faces a large fine but is more risk averse than the principal, the
         principal can assume it; conversely, if the fine would be imposed on the principal, he
         can bear that risk and not impose an internal sanction on the agent. Thus, the post-
         contract penalties that the agent suffers may not be affected by the particular division of
         sanctions initially selected by the enforcement authority.
            The allocation of monetary sanctions between principals and agents would matter,
         however, if some allocations allow the pair to reduce their total burden. An important
         example is when a fine is imposed only on the agent and he is unable to pay it because
         his assets are less than the fine.60 Then he and the principal (who often would have
         higher assets) would jointly escape part of the fine, diluting deterrence. The fine there-
         fore should be imposed on the principal rather than on the agent (or at least the part of
         the fine that the agent cannot pay).
            A closely related point is that the imposition of imprisonment sanctions on agents
         may be desirable when their assets are less than the optimal fine, even if the principal’s
         assets are sufficient to pay the fine. The fact that an agent’s assets are limited means that
         the principal may be unable to control him adequately through the use of contractually-
         determined penalties, which can only be monetary. For example, a firm may not be able,
         despite the threat of salary reduction or dismissal, to induce its employees never to rig
         bids. In such circumstances, it may be socially valuable to use the threat of personal
         criminal liability and a jail sentence to better control agents’ misconduct.61


         20. Settlements

         We have thus far assumed that when an individual who should be found liable is dis-
         covered, he will be sanctioned in some automatic fashion. In practice, however, an
         individual must be found liable in a trial, and before this occurs, it is common for an in-
         dividual to settle in lieu of trial. (In the criminal context, the settlement usually takes the
         form of a plea bargain, an agreement in which the individual pleads guilty to a reduced
         charge.) Given the prevalence of settlements, it is important to consider how they affect
         deterrence and the optimal system of public enforcement, and whether settlements are
         socially desirable.
            A general reason why a wrongdoer who has been caught might prefer an out-of-court
         settlement to a trial is that a settlement saves him time and/or money. Public enforcers
         presumably would prefer settlements for this reason as well. To amplify, consider a
         risk-neutral detected individual subject to a fine f and let

                 r = probability of conviction;


         60 See Sykes (1981) and Kornhauser (1982).
         61 This point is discussed by Segerson and Tietenberg (1992) and emphasized by Polinsky and Shavell (1993).
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                    cI = individual’s litigation costs; and
                   cP = prosecutor’s litigation costs.

                Assume that the parties agree on the probability of conviction. If the case goes to trial,
             the expected cost to the individual is rf + cI , and the expected gain to the prosecutor,
             assuming his goal is to maximize expected penalties imposed net of his litigation costs,
             is rf − cP . Thus, any settlement resulting in a fine between rf − cP and rf + cI
             would make both parties better off because the cost of litigation would be avoided. The
             same point would apply if the individual were subject to a jail sentence rather than
             a fine. Note, however, that if the parties disagree about the probability of conviction,
             a settlement might not occur—specifically, if the individual is relatively optimistic and
             believes that the probability of his being convicted is sufficiently less than the prosecutor
             thinks it is.
                A second benefit of a settlement is that it eliminates the risks inherent in the trial
             outcome, a benefit to parties who are averse to such risks.62
                The preceding advantages of settlement to the parties suggest that settlement is so-
             cially valuable, but the effect of settlement on deterrence is a complicating factor.
             Specifically, settlements dilute deterrence: for if individuals desire to settle, it must be
             because the expected disutility of sanctions is lowered for them. However, because set-
             tlements reflect the sanctions that would be imposed at trial, the state may be able to
             offset this settlement-related reduction in deterrence by increasing the level of sanc-
             tions. If so, settlements need not compromise the overall level of deterrence.63
                Settlements may have other socially undesirable consequences. First, they may result
             in sanctions that are not as well tailored to harmful acts as would be true of court-
             determined sanctions. Second, settlements hinder the amplification and development
             of the law through the setting of precedents. Third, settlements also sometimes allow
             individuals to keep aspects of their behavior secret, which can reduce deterrence. Fourth,
             settlements for prison terms can result in increases in public expenditures on jail if
             individuals are risk averse in imprisonment.64 A prosecutor whose goal is to maximize
             social welfare, as opposed to maximizing the expected sanction less prosecution costs,



             62 These benefits of settlement are well-recognized in the economic literature on civil litigation; see the
             surveys by Cooter and Rubinfeld (1989) and Spier (2007). For early discussions of settlement in the context
             of public enforcement, see Landes (1971) and Grossman and Katz (1983), and more recently, see, for example,
             Reinganum (1988), Polinsky and Rubinfeld (1989), Kobayashi and Lott (1992), and Miceli (1996).
             63 The deterrence-diluting effects of settlement and other aspects of the social desirability of settlement have
             been discussed in the private litigation context by Polinsky and Rubinfeld (1988), Shavell (1997a), and Spier
             (1997). A related discussion in the public enforcement context appears in Polinsky and Rubinfeld (1989).
             64 For example, suppose a defendant faces a 50% chance of a 5 year sentence and a 50% chance of a 15 year
             sentence, with an expected sentence of 10 years. If he is risk averse, he will strictly prefer a certain sentence
             of 10 years. This implies that if prosecutors want to maintain deterrence, they must demand a settlement of
             more than 10 years, say 12 years, which increases the cost of imprisonment.
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         presumably would take these additional factors into account and sometimes refuse to
         settle even though the settlement saves litigation costs and avoids risk.65


         21. Self-reporting

         We have assumed that individuals are subject to sanctions only if they are detected by
         an enforcement agent, but in fact parties sometimes disclose their own violations to
         enforcement authorities. For example, firms often report violations of environmental
         and safety regulations, individuals usually notify police of their involvement in traffic
         accidents, and even criminals occasionally turn themselves in.
            Self-reporting can be induced by lowering the sanction for individuals who disclose
         their own infractions. To avoid significantly reducing deterrence, however, the reward
         for self-reporting can be made relatively small. For example, suppose that the fine if an
         individual does not self report is $1,000 and that the probability of detection is 10%, so
         the expected fine is $100. If the fine if one self-reports is $99, individuals will self-report
         but deterrence will barely be reduced.
            To express this formally, assume for simplicity that individuals are risk neutral, and
         suppose that if an individual commits a violation and does not self-report, his expected
         fine is pf. Let
               f  = fine if a violator self-reports,
         and set
               f  = pf − ε,                                                                                      (28)
         where ε > 0 is small. A violator will therefore want to self-report because f  is less
         than pf , but the deterrent effect of the sanction will approximate that if he did not
         self-report.
            Given that self-reporting can be induced essentially without compromising deter-
         rence, why is self-reporting socially advantageous? One reason is that self-reporting
         lowers enforcement costs because the enforcement authority does not have to identify
         and prove who the violator was. Environmental enforcers do not need to spend as much
         effort trying to detect pollution and establishing its source if firms that pollute report that
         fact.66 Second, self-reporting reduces risk, and thus is advantageous if individuals are
         risk averse. Drivers bear less risk because they know that if they cause an accident, they

         65 The question of what prosecutors maximize has received almost no attention from law and economics
         scholars, although two exceptions are Miceli (1996) and Glaeser, Kessler, and Piehl (2000).
         66 In some contexts, however, self-reporting will not save enforcement costs. For example, suppose that a
         police officer waits by the side of a road to spot speeders. Then, were a driver to report that he had sped,
         this would not reduce policing costs, presuming that the officer still needs to be stationed at the roadside to
         watch for other speeders. Usually, though, there would be some cost savings as a result of self-reporting (for
         example, the police officer would not have to chase as many speeders).
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             will be led to report this to the police and suffer a lower and certain sanction (of approx-
             imately pf ), rather than face a substantially higher sanction imposed only with some
             probability. Third, self-reporting may allow harm to be mitigated. Early identification
             of a toxic leak, for example, will facilitate its containment and clean-up.67


             22. Repeat offenders

             In practice, the law often sanctions repeat offenders more severely than first-time of-
             fenders. For example, under the U.S. Sentencing Commission’s sentencing guidelines
             for Federal crimes, both imprisonment terms and criminal fines are enhanced if an of-
             fender has a prior record. Civil money penalties also sometimes depend on whether
             the offender has a record of prior offenses. We explain here why such policies may be
             socially desirable.
                Note first that sanctioning repeat offenders more severely cannot be socially advanta-
             geous if deterrence always induces first-best behavior. If the sanction for polluting and
             causing a $1,000 harm is $1,000, then any person who pollutes and pays $1,000 is a
             person whose gain from polluting (say the savings from not installing pollution control
             equipment) must have exceeded $1,000. Social welfare therefore is higher as a result
             of his polluting. If such an individual polluted and was sanctioned in the past, that only
             means that it was socially desirable for him to have polluted previously. Raising the
             sanction because of his having a record of prior convictions would overdeter him now.
                Accordingly, only if deterrence is inadequate is it possibly desirable to condition
             sanctions on offense history to increase deterrence. But deterrence often will be inad-
             equate because, as we emphasized in section 7.1, it will usually be worthwhile for the
             state to tolerate some underdeterrence in order to reduce enforcement expenses.
                Given that there is underdeterrence, making sanctions depend on offense history may
             be beneficial for two reasons. First, the use of offense history may create an additional
             incentive not to violate the law: if detection of a violation implies not only an immediate
             sanction, but also a higher sanction for a future violation, an individual will be deterred
             more from committing a violation presently.68 Second, making sanctions depend on


             67 The basic theory of self-reporting in public enforcement is developed in Kaplow and Shavell (1994b); see
             also Malik (1993) and Innes (1999). Related literature concerns the reporting of income by individuals to tax
             authorities and the reporting of costs by regulated firms to regulatory authorities. See, for example, Andreoni,
             Erard, and Feinstein (1998) and Laffont and Tirole (1993).
             68 There is a subtlety in demonstrating the optimality of punishing repeat offenses more severely. Namely, if
             there is a problem of underdeterrence, one might wonder why it would not be optimal to raise the sanction to
             the maximum level for every offense (in which case repeat offenses would not be punished more severely). It
             must be shown that punishing all offenses maximally is inferior to punishing first offenses less than maximally
             and punishing repeat offenses more severely. See Polinsky and Shavell (1998) on the possible optimality of
             making sanctions depend on offense history because of the additional deterrence that such a policy creates.
             Miceli and Bucci (2005) supply a different reason for raising the fine for the second offense—that there is
             little additional social stigma associated with a second offense, so that a higher sanction is needed to maintain
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         offense history allows society to take advantage of information about the dangerousness
         of individuals and the need to deter them: individuals with offense histories may be
         more likely than average to commit future violations, which might make it desirable for
         purposes of deterrence to impose higher sanctions on them.69
            There is also an incapacitation-based reason for making sanctions depend on offense
         history. Repeat offenders are more likely to have higher propensities to commit viola-
         tions in the future and thus more likely to be worth incapacitating by imprisonment.70


         23. Imperfect knowledge about the probability and magnitude of sanctions

         Although we have made the simplifying assumption that individuals know the probabil-
         ity of detection and the magnitude of sanctions, it is obvious that individuals frequently
         have imperfect knowledge of these variables. They generally possess only subjective
         probability distributions of the probability of a sanction and its magnitude. They might
         not know the true probability of a sanction for several reasons: because the enforcement
         authority refrains from publishing information about the probability (perhaps hoping
         that individuals will believe it to be higher than it is); because the probability depends
         on factors that individuals do not fully understand (the probability of a tax audit, for
         example, is influenced by factors that are kept secret from taxpayers); and because
         probabilities might be difficult for individuals to assess.71 Also, individuals may have
         incomplete knowledge of the true magnitudes of sanctions, particularly if sanctions are
         not fixed by law, but are to some degree discretionary.72
            The implications of individuals’ imperfect knowledge are straightforward to ascer-
         tain. First, to predict how individuals behave, what is relevant, of course, is not the
         actual probability and magnitude of a sanction, but perceptions of them.
            Second, to determine the optimal probability and magnitude of sanctions, account
         must be taken of the relationship between the actual and the perceived values. To illus-
         trate, suppose that the perceived probability is a single value p̂(p), where p̂ is increasing
         in the true probability p, and, similarly, that the perceived fine is fˆ(f ), where fˆ is in-
         creasing in the true fine f . Thus, if the probability of detection p is fixed, the optimal

         deterrence. Emons (2003), however, raises the possibility that it may be optimal to lower the sanction for the
         second offense.
         69 Note that this reason for making sanctions depend on offense history is different from the first reason:
         the second reason involves the assumption that offenders are different and that the optimal sanction for some
         offenders is higher than for others; the first reason applies even if individuals are identical. On the second,
         information-based, reason for making sanctions depend on offense history, see Rubinstein (1979), Polinsky
         and Rubinfeld (1991), and Chu, Hu, and Huang (2000).
         70 See section 25 for a discussion of the incapacitation rationale for the use of imprisonment sanctions.
         71 On the problems that individuals have in evaluating and using probabilities, see, for example, Kahneman,
         Slovic, and Tversky (1982).
         72 In addition, individuals could have imperfect information about the prevailing standard of liability, not
         being sure whether it is strict or fault-based. This type of mistake, about a discrete issue, seems less likely to
         be significant than errors in assessing the probability and magnitude of sanctions.
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             fine is set such that p̂(p)fˆ(f ) = h, assuming such a fine is feasible. This might imply
             a higher or a lower fine than when perceptions are accurate.
                Third, the result that the optimal fine should be maximal when individuals are risk
             neutral continues to hold. By raising the fine to the maximum, the perceived fine also
             will be maximal. The probability of detection then can be lowered, thereby saving en-
             forcement costs without reducing deterrence.
                Several other observations are worth making. One concerns lags in learning about
             changes in enforcement policy. For example, suppose that there is a delay of at least a
             year before individuals fully comprehend a change in the probability of enforcement.
             Then if enforcement resources are increased so as to make the probability, say, 15%
             rather than 10%, there might not be a significant increase in deterrence for some time,
             making such an investment less worthwhile.73 Another observation involves the diffi-
             culty in learning about variations in enforcement policy when enforcement policy is
             described by a distribution. For instance, suppose that the sanction for some act, such
             as robbery, can vary (say from one month of jail time to 10 years), and that individu-
             als’ perceptions are quite rough, not based on true averages, but mainly on the possible
             range of sanctions. Then increasing the average sentence within this range might have
             very little effect on deterrence. The processes by which individuals formulate probabil-
             ities of sanctions and their magnitudes are important, therefore, to determining optimal
             deterrence policy.74


             24. Corruption

             In this section we examine the possible corruption of law enforcement agents, how
             corruption lessens deterrence and distorts participation in harm-creating activities, and
             what policies may be employed to combat corruption.75 One form of corruption is
             bribery, in which a law enforcer accepts a payment in return for not reporting a violation
             (or for reducing the mandated sanction for the violation). For example, in consideration
             of a bribe payment, a police officer may overlook a speeding violation or a building
             inspector may ignore a code infraction. (For simplicity, we do not distinguish between


             73 Similarly, suppose that individuals treat all probabilities of enforcement that are low, say below 1%, as if
             they were probabilities of 1%, because it is not possible for individuals to make discriminations finer than
             1%. Then if the actual probability is ½%, spending more on enforcement to make the probability 1% would
             not be beneficial because deterrence would not increase.
             74 Bebchuk and Kaplow (1992) consider imperfect information about the probability of sanctions and em-
             phasize that maximal sanctions may not be socially desirable. See also Kaplow (1990a), which takes into
             account learning about whether acts are subject to sanctions, and Sah (1991), which focuses on the process
             by which individuals form perceptions of the probability of detection.
             75 The discussion in this section is based principally on Polinsky and Shavell (2001). We do not examine the
             corruption of the government procurement process, such as the payment of a bribe to a government agent in
             order to obtain a defense contract.
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         a bribe offered by an individual and an extortion demand made by the enforcer—a pay-
         ment for not turning in the individual.) A second form of corruption is framing and
         framing-related extortion, in which an enforcement agent may frame an innocent indi-
         vidual or threaten to frame him in order to extort money from him.
            One reason bribery is socially undesirable is that it dilutes deterrence of violations
         of law. This is because bribery results in a lower payment by an individual than the
         sanction for the offense. To be concrete, let

               λ = fraction obtained by the enforcer of the surplus from a bribe agreement.
         Therefore, because the surplus from a bribe agreement is the fine f , an individual pays
         a bribe of λf . To the degree that λ is less than one, there is underdeterrence.76 Similarly,
         bribery leads to excessive participation in the harm-creating activity.
            Framing and framing-related extortion also dilute deterrence of violations of law.
         The reason is that framing and extortion imply that those who act innocently face an
         expected sanction, so that the difference between the expected sanction if individuals
         commit a violation and if they do not is lessened. If, for example, individuals who vio-
         late the law face an expected fine of $1,000 and innocent individuals face an expected
         fine of $200 due to the risk of being extorted or framed, the additional cost to an in-
         nocent individual of committing the offense is $800 instead of $1,000. (This point is
         essentially the same as the observation in section 15 that mistaken convictions dilute
         deterrence.) Additionally, framing and framing-related extortion undesirably discour-
         age participation in the harm-creating activity.
            Because corruption dilutes deterrence and distorts activity decisions, its control may
         be socially desirable. One way to reduce corruption is to impose fines (or imprisonment
         sentences) on individuals caught engaging in bribery, extortion, and framing. For ex-
         ample, suppose there is a fine for bribery imposed on the enforcer with a probability.
         Let

               fB = fine imposed on the enforcer for engaging in bribery; and
               pB = probability that an enforcer is caught engaging in bribery.
         Bribery will be deterred if the surplus from a bribe agreement is eliminated, that is,
         if pB fB ≥ f . Otherwise, the bribe payment will be pB fB + λ(f − pB fB ), which
         exceeds λf , so that deterrence of the offense is greater due to the sanctioning of bribery.
         For previously discussed reasons, the optimal fine to impose on risk-neutral parties for
         engaging in bribery is maximal, and the optimal fine for enforcers who frame innocent
         individuals also is maximal. But, surprisingly, framing-related extortion should not be
         penalized.77


         76 Garoupa and Klerman (2004) discuss how the threat of an imprisonment sanction for the offense will lead
         the offender to pay a higher bribe than otherwise, thereby reducing the deterrence-diluting effect of bribery.
         77 The kernel of the reason is that penalizing framing-related extortion will lead to one of two detrimental
         consequences: it will either fail to deter extortion and result in higher costs to innocent individuals (the sum
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                Corruption also can be reduced by paying enforcers rewards for reporting violations.
             Such payments will reduce their incentive to accept bribes because they will sacrifice
             their rewards if they fail to report violations. Indeed, sufficiently high rewards would
             eliminate all incentives to accept bribes. But high rewards may not be optimal because
             they give enforcers a greater incentive to frame innocent individuals, and high rewards
             tend to increase framing-related extortion payments (because enforcers sacrifice more
             by accepting the extortion payment). The optimal reward balances the beneficial effect
             of using rewards to offset the dilution of deterrence due to bribery with the detrimental
             effects associated with increased framing and extortion of innocent individuals.
                A third way to control corruption is to pay enforcers more than their reservation
             wage (that is, to pay them an efficiency wage). Then they would have more to lose if
             punished for corrupt behavior and denied future employment. There is, however, a social
             cost to the state of paying enforcers more than the wage necessary to attract them—the
             distortions caused by the additional taxes needed to make such payments.
                The discussion to this point implicitly presumed that the fine for the harmful act
             is fixed. A question that naturally arises, however, is whether the deterrence-diluting
             effects of corruption can be offset by raising the fine on offenders. For example, suppose
             that the optimal fine would be $100 if a fine were always paid when an offender is
             caught, but that bribery results in a bribe payment equal to $50, one half of the fine.
             Could not the fine on an offender be increased to $200, so that the bribe would then
             be $100 and the effective penalty be exactly what is desired? In the basic risk-neutral
             model of enforcement, it is not possible to raise the fine because the optimal fine is
             maximal. More realistically, however, the optimal fine is less than maximal for a variety
             of reasons, including those related to risk aversion, marginal deterrence, and general
             enforcement. Then, while it would be possible to raise the fine to offset the deterrence-
             diluting effects of corruption, doing so would lead to social costs (for example, greater
             bearing of risk) and might not be desirable.78




             of their expected extortion payment and the expected fine on them for paying extortion); or else it will cause
             enforcers to switch from extorting money from innocent individuals to actually framing them, which is so-
             cially worse. This result is demonstrated in Polinsky and Shavell (2001), which also discusses qualifications
             to this point.
             78 Becker and Stigler (1974) focus on the control of bribery and consider paying rewards to enforcers or
             requiring them to post bonds that would be forfeited if they are caught engaging in bribery. Mookherjee and
             Png (1995) analyze bribery and conclude, given their assumption that fines are unbounded, that it is optimal to
             eliminate bribery. Bowles and Garoupa (1997) also discuss the control of bribery through sanctions. Hindriks,
             Keen, and Muthoo (1999) study bribery and extortion in the context of tax evasion, and examine rewards and
             penalties as methods of control. Other writing on corruption includes Pashigian (1975), Klitgaard (1988),
             Shleifer and Vishny (1993), Bardhan (1997), and Rose-Ackerman (1999); several of these articles focus on
             corruption in the awarding of government contracts and licenses rather than corruption in the imposition of
             sanctions for violations of law.
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         25. Incapacitation

         Our discussion of public enforcement has presumed that the threat of sanctions reduces
         harm by discouraging individuals from causing harm—that is, by deterring them. How-
         ever, a different way for society to reduce harm is by imposing sanctions that remove
         parties from positions in which they are able to cause harm—that is, by incapacitating
         them. Imprisonment is the primary incapacitative sanction, although there are other ex-
         amples: individuals can lose their drivers licenses, preventing them from doing harm
         while driving; businesses can lose their right to operate in certain domains, and the like.
         We focus here on imprisonment, but what we say applies to incapacitative sanctions
         generally.
           To better understand public enforcement when sanctions are incapacitative, suppose
         that their sole function is to incapacitate; that is, assume for simplicity that sanctions
         do not deter. (For instance, deterrence might not occur if, given the relevant range of
         the probabilities and magnitudes of the sanctions, individuals’ gains from harmful acts
         exceed the expected sanctions.) Let

               h(t) = harm that would be caused by an individual at age t if not in jail.
         We assume that h(t) either is constant or declines with age.
            Assuming that the social goal is to minimize the sum of the harm and the cost c of
         incarceration,79 the optimal policy is to keep an individual in jail as long as h(t) > c. In
         other words, if the harm the individual would cause exceeds the cost of imprisonment,
         an individual should be put in prison and kept there as long as the harm continues to
         exceed the cost of imprisonment. He should be released otherwise. Put differently, the
         optimal prison term as a function of potential harm caused is zero up to a threshold—the
         point at which harm equals the cost of imprisonment—and then rises discontinuously
         to the length of time during which the person’s harm if released would exceed impris-
         onment costs. Jail should only be used to incapacitate individuals who otherwise would
         have caused relatively high harm.
            Two points about the incapacitative rationale are important to note. First, evidence
         exists suggesting that the harm caused by individuals declines with their age.80 Thus,
         from the incapacitative standpoint, it often will be desirable to release older prisoners
         from jail. Second, as a matter of logic, the incapacitative rationale might imply that a
         person should be put in jail even if he has not committed a crime—if his danger to
         society makes incapacitating him worthwhile. This would be true, for example, if there
         were some accurate way to predict a person’s dangerousness independently of his actual
         behavior. In practice, however, the fact that a person has committed a harmful act may be


         79 For simplicity, we are not taking into account here the gains that individuals obtain from committing
         offenses or the disutility that individuals bear from time in jail.
         80 See, for example, Wilson and Herrnstein (1985, pp. 126–147) and U.S. Department of Justice (1997a,
         pp. 371, table 4.4, 378–379, table 4.7).
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             a good basis for predicting his future behavior, in which case the incapacitation rationale
             would imply that a jail term should be imposed only if the individual has committed an
             especially harmful act.
                The optimal probability of detection is determined by a straightforward tradeoff. The
             higher the probability, the greater the number of individuals who will be incapacitated,
             resulting in social gains equal to the difference between the harm that individuals would
             cause and the cost of their incapacitation. But the higher the probability, the higher are
             enforcement costs. At some point, it is optimal to stop raising the probability, when the
             marginal social gains just equal the marginal cost of raising the probability.
                Last, we briefly comment on the relationship between the nature of optimal enforce-
             ment when incapacitation is the goal versus when deterrence is the goal. First, when
             incapacitation is the goal, the optimal length of the prison term (which is determined by
             the condition that h(t) > c) is independent of the probability of apprehension. In con-
             trast, when deterrence is the goal, the optimal sanction depends on the probability—the
             sanction generally is higher the lower is the probability. Second, when incapacitation
             is the goal, the probability and magnitude of sanctions are independent of the ability
             to deter. Thus, for example, if this ability is limited (consider individuals who commit
             crimes while enraged), a low expected sanction may be optimal under the deterrence
             rationale, but a high expected sanction still might be called for to incapacitate.81


             26. Costly observation of wealth

             In our prior discussions of optimal sanctions, we implicitly assumed that the enforce-
             ment authority could costlessly observe individuals’ wealth levels. Knowing wealth
             levels, the enforcement authority then chose the sanctions to impose, fines and/or im-
             prisonment sentences. In fact, however, individuals and firms may be able to hide assets
             from government enforcers, including by hoarding cash, transferring assets to relatives
             or related legal entities, or moving money to offshore bank accounts. In this section we
             consider optimal sanctions when an individual’s level of wealth can be observed only
             after a costly audit or not at all.82
                Suppose first that the enforcement authority employs fines as sanctions and can audit
             an individual who claims that he cannot pay the fine. If the audit determines that the

             81 See Shavell (1987a) for a theoretical examination of optimal incapacitation policy, Ehrlich (1981, pp. 315–
             316, 319–321) for a model used to estimate the relative importance of incapacitation and deterrence, and Levitt
             (1998) and Kessler and Levitt (1999) for empirical studies of incapacitation and deterrence. Economists have
             paid much less attention to incapacitation than to deterrence, despite the significance of the incapacitation
             rationale in criminal law enforcement.
             82 The discussion in this section is based on Polinsky (2006a, 2006b). See also Chu and Jiang (1993) and
             Levitt (1997), who consider the choice between fines and imprisonment when wealth cannot be discovered
             by the enforcement authority at any cost (in Chu and Jiang’s case, this assumption is implicit), and Garoupa
             (1998), who investigates optimal fines when the enforcement authority is assumed to costlessly observe an
             underestimate of offenders’ wealth levels.
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         individual misrepresented his wealth level, he can be fined for having lied about his
         wealth. Assume for simplicity that this fine is independent of the degree of misrepre-
         sentation. The enforcement authority’s problem is to choose, so as to maximize social
         welfare, the probability of detecting the offense, the fine for the offense, the probability
         of an audit conditional on the individual’s claiming that he cannot pay the fine, and the
         fine for misrepresentation of wealth. Without loss of generality, we assume that if the
         latter fine is applicable, it is imposed instead of the fine for the offense (rather than in
         addition to the fine for the offense).
            It can be demonstrated that the optimal fine for misrepresenting one’s wealth level
         equals the fine for the offense divided by the audit probability, and therefore generally
         exceeds the fine for the offense. This is a natural generalization of the formula for the
         optimal fine, given the probability of detection, which is the harm divided by the proba-
         bility. In effect, the “harm” from the act of concealing one’s wealth is the failure to pay
         the fine for the original offense, so the optimal fine for concealment is this harm divided
         by the applicable probability of being caught if one engages in it.
            Assuming the harmful act is worth controlling, the optimal audit probability is posi-
         tive, increases as the cost of an audit declines, and equals one if the cost is sufficiently
         low. Auditing is valuable because it reduces misrepresentation of wealth and thereby
         increases deterrence. If the optimal audit probability is less than one, however, some
         individuals who are capable of paying the fine for the offense will misrepresent their
         wealth levels. Unlike in the basic analysis in which wealth is assumed to be costlessly
         observable, the optimal fine for the offense now results in underdeterrence, due to the
         cost of auditing wealth levels. By reducing the fine for the offense from the level that
         would lead to first-best behavior, fewer individuals will misrepresent their wealth levels,
         so auditing costs decline. The reduction in deterrence has no first-order effect on social
         welfare because the marginal individuals who are induced to commit the offense have
         gains equal to the harm from the offense.
            Next suppose that the enforcement authority simply cannot observe wealth, say be-
         cause the cost of an audit is prohibitively high.83 If the enforcement authority would
         have used fines alone if it could have observed wealth at no cost, it would have im-
         posed a higher fine on higher-wealth individuals.84 It obviously cannot do this now.
         Instead, it may be desirable to use the threat of an imprisonment sentence to induce
         individuals capable of paying a higher fine to do so. Specifically, if there are two levels
         of wealth, the enforcement authority might set the fine greater than the wealth level of
         the low-wealth individuals and impose an imprisonment sentence on any individuals
         who do not pay this fine. By using an imprisonment sentence in this way, high-wealth
         individuals can be induced to pay a higher fine, which is socially beneficial, though
         low-wealth individuals now will incur a socially costly sanction, imprisonment. In other

         83 The following discussion introduces imprisonment as an alternative, or supplement, to fines. For simplicity,
         imprisonment was not considered above in the discussion of auditing.
         84 For now familiar reasons, it would have done this to reduce or eliminate the underdeterrence that otherwise
         would occur if the fine were the same as for low-wealth individuals.
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             words, when wealth is not observable, it may be desirable to impose a costly sanction—
             imprisonment sentences—on low-wealth individuals in order to better deter high-wealth
             offenders through a cheap sanction—fines.
                Another possibility is that the enforcement authority would have used both fines and
             imprisonment if it could have observed wealth at no cost. Perhaps surprisingly, the in-
             ability to observe wealth is of no consequence in this case. The reason, in essence, is
             that the mix of fines and imprisonment that would be chosen when wealth is observ-
             able will impose a higher burden (though a lower fine) on low-wealth individuals. Thus,
             high-wealth individuals will naturally want to identify themselves. Specifically, they
             will prefer to pay a higher fine and bear a shorter imprisonment sentence than to mas-
             querade as low-wealth individuals, who will bear longer imprisonment sentences and a
             higher overall burden. Consequently, the same mix of sanctions that would have been
             imposed on both groups if wealth were costlessly observable can be used when wealth
             is not observable.
                In summary, information about wealth levels is useful only if the enforcement author-
             ity would want to impose a higher burden of sanctions on high-wealth individuals than
             on low-wealth individuals, for then high-wealth individuals would pretend to be low-
             wealth individuals if wealth could not be observed. This is the case if the enforcement
             authority would want to use fines alone. If, however, the enforcement authority would
             want to impose a lower burden of sanctions on high-wealth individuals than on low-
             wealth individuals, high-wealth individuals will voluntarily bear such sanctions even
             if they include a higher fine. This case is applicable when the enforcement authority
             would want to use fines and imprisonment together. Monitoring of wealth levels may be
             worthwhile in the first case, but is not needed in the second case.


             27. Social norms

             Although we have restricted attention to public enforcement of law, social norms and
             morality should be mentioned because they influence in significant ways the attainment
             of desired behavior.85 By social norms (or moral rules), we mean conduct—such as
             keeping promises, not lying, and not harming others—that is associated with certain
             distinctive psychological and social attributes. In particular, social norms influence be-
             havior partly through internal incentives: when a person obeys a moral rule, he will tend
             to feel virtuous, and if he disobeys the rule, he will tend to feel guilty. Social norms also
             influence behavior through external incentives: when a person is observed by another
             party to have obeyed a moral rule, that party may bestow praise on the first party, who
             will enjoy the praise; and if the person is observed by the other party to have disobeyed
             the rule, the second party will tend to disapprove of the first party, who will dislike the
             disapproval.

             85 On social norms and the law, see generally McAdams and Rasmusen (2007). See also University of Penn-
             sylvania Law Review (1996) and Posner (1997).
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            Because social norms affect behavior through the foregoing moral incentives, some
         socially desirable conduct can be encouraged reasonably well without employing the
         legal system.86 For example, whether an individual cuts in line at the movie theater,
         keeps his lunch engagements, or lets his children make a nuisance of themselves at the
         supermarket, is controlled with rough success by internal and external moral incentives.
         Such conduct generally can be regulated satisfactorily by moral incentives alone be-
         cause, among other things, internal incentives work automatically (we know when we
         have done the wrong thing), external incentives are likely to apply (if a person cuts in
         line, this will be noticed), and the benefits from violations are not large, so that they can
         be outweighed relatively easily by the force of the moral incentives.
            The need for formal law enforcement stems from two principal considerations. First,
         much conduct that society desires cannot be controlled through moral incentives alone.
         One reason is that the private gains from undesirable conduct are often large. The utility
         obtained by a robber, a tax cheat, or a polluter may be substantial, and dominate the
         moral incentives. Another reason is that external moral sanctions might be imposed
         only with a low probability (the robber, tax cheat, or polluter might not be spotted by
         others). A second rationale for formal law enforcement is that the social harm from
         failing to control an act through moral incentives may be large. This makes the expense
         of law enforcement worth incurring (as in the case of robbery, but not of cutting in line
         at movie theaters).
            Although we have been treating social norms and formal law enforcement as distinct
         ways of controlling behavior, law enforcement might also influence social norms.87 For
         instance, enforcement of laws prohibiting discrimination based on race may change be-
         liefs about proper conduct (reinforcing internal moral incentives) and lead to a greater
         willingness of individuals to express disapproval when they witness discriminatory be-
         havior (enhancing external moral incentives). The importance of the effect of law on
         social norms may be limited, however, to the extent that social norms are mainly the
         result of early childhood experience and the messages conveyed by parents and other
         authority figures, such as educators.


         28. Fairness

         To this point we have not considered the possibility that individuals have opinions about
         the fairness of sanctions or the arbitrariness of enforcement.88

         86 For a comparison of social norms and law enforcement as means of controlling behavior, see Shavell
         (2002).
         87 See, for example, McAdams (1997) and Sunstein (1996).
         88 The discussion in this section is based on Polinsky and Shavell (2000b) and Kaplow and Shavell (2002,
         pp. 291–378), the latter of which relates the economic analysis of fairness in enforcement to the philosophical
         literature. See also Miceli (1991) and Diamond (2002), who derive optimal sanctions taking both deterrence
         and the fairness of sanctions into account, but holding the probability of sanctions fixed. Waldfogel (1993)
         studies empirically whether actual sanctions are better explained by considerations of deterrence or fairness.
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                 Suppose, first, that individuals believe that sanctions should be imposed on those who
             have committed certain bad acts and that the magnitude of sanctions should reflect the
             gravity of the acts. A formal assumption that captures this view is that individuals obtain
             fairness-related utility from the imposition of sanctions on those who committed the bad
             acts, where this utility is maximized at a fairness-ideal level of sanction that depends
             on the harmfulness (or a related aspect) of the acts. The fairness-ideal sanction may be
             lower or higher than the conventionally optimal sanction that we have discussed above.
             Note in particular that the fairness-ideal sanction does not depend on the probability
             of detection, whereas the conventionally optimal sanction is higher the lower is the
             probability of detection, suggesting that if the probability of detection is sufficiently
             low, the conventionally optimal sanction will exceed the fairness-ideal sanction. In any
             case, when fairness-related utility is taken into account along with the other elements
             of social welfare considered above, the optimal sanction will be a compromise between
             the fairness-ideal sanction and the conventionally optimal sanction.
                 When both the probability and magnitude of sanctions may be varied, the conven-
             tional solution to the enforcement problem also is altered because of fairness considera-
             tions. As discussed previously, if individuals are risk neutral, the usual solution consists
             of the highest possible sanction and a relatively low probability. When the issue of
             fairness is added to the analysis, however, the usual solution generally is not optimal
             because a very high sanction will be seen as unfair, or more precisely, will result in
             the lowering of individuals’ fairness-related utility. With respect to double parking, for
             example, even a sanction of $100 might be considered unfair because double parking is
             regarded as only a slightly bad act.
                 A consequence of the desire to keep sanctions at fair levels, meaning quite con-
             strained levels for acts that are not very bad or harmful, is that the socially optimal
             probability of detection changes. One possibility is that the optimal probability would
             be higher, perhaps much higher than the conventionally optimal probability: to achieve
             a desired level of deterrence with a lower fairness-restricted sanction, the probability
             has to rise. If the sanction for double parking cannot exceed $100 because of fair-
             ness considerations, then, to create an expected sanction of $10, the probability must
             be 10%, greatly exceeding the approximately 1/10% probability that would be opti-
             mal if risk-neutral individuals have wealth of $10,000 and the fine is set at this level.
             Another possibility, though, is that the optimal probability would be lower than in the
             conventional case: the additional deterrence created by raising the probability might be
             relatively low because the sanction is relatively low; and the lower the deterrent benefit
             from raising the probability, the lower would be the social incentive to devote resources
             to enforcement.
                 Another concept of fairness concerns the probability of detection rather than the mag-
             nitude of sanctions. Suppose that individuals consider it unfair for some violators of
             law to be sanctioned when others who were lucky enough not to be caught are not
             sanctioned. Specifically, suppose that individuals experience fairness-related disutility
             if there is only a probability rather than a certainty of sanctions, and their disutility rises
             the lower the probability of detection. Then the optimal probability would be higher,
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         and therefore the optimal sanction would be lower, than in the absence of this fairness-
         related component of social welfare.
            A further notion of fairness involves the form of liability, whether liability is strict
         or based on fault. Individuals might prefer fault-based liability because sanctions are
         imposed on parties only if they behaved in a socially inappropriate way. If individuals
         derive greater fairness-related utility from use of fault-based liability, then this form of
         liability is more likely to be optimal than we have suggested previously.
            A final issue concerns the relevance of fairness considerations when firms, as opposed
         to individuals, are sanctioned. If sanctions are imposed on firms, then fairness-related
         utility may have to be reconsidered, presuming that what matters in terms of fairness is
         that the individuals responsible for harmful acts bear sanctions as opposed to the artifi-
         cial legal entity of a firm. Specifically, one would want to identify the sanctions actually
         suffered by such persons within a firm if the firm bears a sanction. For example, if a
         firm demotes a person who negligently caused the firm to incur a sanction, then the per-
         son’s loss from the demotion would be the fairness-relevant sanction, not the sanction
         imposed on the firm. Note, too, that the imposition of sanctions on firms often penal-
         izes individuals who are unlikely to be considered responsible for the harm, namely
         shareholders and customers. To the extent that the fairness goal is to penalize respon-
         sible individuals within firms, and not firms as entities, the social value of sanctions in
         achieving fairness is attenuated.


         29. Conclusion

         Having reviewed the theory of public enforcement of law, we want to conclude by
         commenting on two types of private behavior that bear significantly on public law en-
         forcement.
            First, private parties may themselves take actions to prevent being harmed. For ex-
         ample, to reduce the risk of being criminally victimized, individuals might install locks
         on their possessions, carry weapons, or hire security personnel. These private efforts to
         prevent or deter harmful acts serve as a partial substitute for public efforts; moreover,
         private efforts are sometimes more efficient than public efforts (citizens may know bet-
         ter where to put locks), though they also may be less efficient (public authorities may
         know better how to assign police). These observations raise important questions about
         the relationship between private protection and public enforcement. Should private ef-
         forts to protect against being victimized be regulated? Does the state spend too little
         on public enforcement, relying on the fact that private actors often undertake their own
         defensive efforts? The optimal relationship between private and public efforts to control
         harmful activities deserves more careful examination.89


         89 There is some literature that discusses the issues raised in this paragraph; see, for example, Clotfelter
         (1977, 1978) and Shavell (1991a).
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                Second, private individuals may bring suits against parties who also may be subject
             to publicly imposed penalties. For example, a victim of an automobile accident may sue
             the driver who caused the accident, and this driver might also be sanctioned by the state
             for a driving infraction. Private lawsuits channel harm-creating behavior and thus con-
             stitute a substitute, at least to some extent, for public enforcement. This leads one to ask
             how public enforcement and parallel private litigation should be managed. Should the
             payment of a public penalty be an offset to private damages, and vice versa? Should the
             state regulate private litigation so as to better coordinate it with public enforcement? Is
             public enforcement or private litigation the socially cheaper way to accomplish desired
             behavior?
                A full treatment of the control of harm-creating behavior would address both sets of
             issues just discussed.


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